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                 Exhibit 5
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                                                                     Page 1
 1                 UNITED STATES DISTRICT COURT
 2              NORTHERN DISTRICT OF CALIFORNIA
 3   ----------------------------
                                        )
 4   IN RE: ROUNDUP PRODUCTS            ) MDL    No. 2741
     LIABILITY LITIGATION               ) Case No. 16-md-02741-VC
 5                                      )
     ----------------------------)
 6                                      )
     This document relates to:          )
 7                                      )
     ALL ACTIONS                        )
 8                                      )
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15         VIDEOTAPED DEPOSITION OF DR. CHADI NABHAN
16                        Rosemont, Illinois
17                    Monday, January 15, 2018
18

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22

23   Reported by:
24   PAULA CAMPBELL, CSR, RDR, CRR, CRC
25   JOB NO. 136021

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                                                 Page 2                                                           Page 4
 1                                                         1   ----------------------- I N D E X ------------------
 2                                                         2
 3                                                         3   WITNESS          EXAMINATION BY                        PAGE
 4                                                         4   DR. CHADI NABHAN      MR. GRIFFIS                      6, 113
 5                                                         5               MR. LITZENBURG     111
 6                                                         6
 7             January 15, 2018                            7   ----------------------EXHIBITS----------------------
 8             8:53 A.M.                                   8                               PAGE LINE
 9                                                         9   Exhibit 29-1 Supplemental Report of          6 15
10                                                        10              Dr. Chadi Nabhan, M.D.,
11           Videotaped discovery deposition of           11              Pursuant to PTO N. 34
12   DR. CHADI NABHAN, held at CROWNE PLAZA CHICAGO       12              and In Support of
13   O'HARE, 5440 North River Road, Rosemont,             13              General Causation on
14   Illinois, pursuant to notice before Paula            14              Behalf of Plaintiffs
15   Campbell, CSR, RDR, CRR, CRC.                        15   Exhibit 29-2 article entitled,        6 21
16                                                        16              "Glyphosate Use and
17                                                        17              Cancer Incidence in the
18                                                        18              Agricultural Health
19                                                        19              Study"
20                                                        20   Exhibit 29-3 Monsanto Company's              7 3
21                                                        21              Notice to Take Oral and
22                                                        22              Videotaped Deposition of
23                                                        23              Dr. Chadi Nabhan
24                                                        24   Exhibit 29-4 malathion monograph            92 23
25                                                        25



                                                 Page 3                                                           Page 5
 1    A P P E A R A N C E S:                               1      VIDEOGRAPHER: And good morning. This is
 2       THE MILLER FIRM                                   2   the start of tape labeled number one of the
 3       Attorneys for the Plaintiffs and the witness      3   videotaped deposition of Dr. Chadi Nabhan taken
 4           180 Railroad Avenue                           4   in the matter of In re: Roundup Products
 5           Orange, Virginia 22960                        5   Liability Litigation in the United States
 6       BY: TIMOTHY LITZENBURG, ESQ.                      6   District Court for the Northern District of
 7                                                         7   California, bearing Case Number 16-MD-02741-VC.
 8                                                         8      This deposition is being held at the Crowne
 9       HOLLINGSWORTH, LLP                                9   Plaza Chicago O'Hare Hotel, at 5440 North River
10       Attorneys for the Defendant Monsanto Company     10   Road in Rosemont, Illinois, 60018, on Monday,
11           1350 I Street, N.W.                          11   January 15th, 2018, at approximately 8:53 A.M.
12           Washington, D.C. 20005                       12      My name is Robert Zellner from TSG
13       BY: KIRBY T. GRIFFIS, ESQ.                       13   Reporting, Inc., and I am the legal video
14           STEPHANIE SALEK, ESQ.                        14   specialist. And the court reporter is Paula
15                                                        15   Campbell, also in association with TSG
16                                                        16   Reporting.
17    ALSO PRESENT:                                       17      And will counsel please introduce
18         Robert Zellner, Videographer                   18   yourselves for the record.
19                                                        19      MR. LITZENBURG: Tim Litzenburg for the
20                                                        20   plaintiff and the witness.
21                                                        21      MR. GRIFFIS: Kirby Griffis of
22                                                        22   Hollingsworth, LLP, for Monsanto.
23                                                        23      MS. SALEK: Stephanie Salek from
24                                                        24   Hollingsworth, LLP for Monsanto.
25                                                        25      VIDEOGRAPHER: Thank you.



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                                               Page 6                                                      Page 8
 1         And will the court reporter please swear in       1   chance to read that. I read Dr. Jamison's
 2      the witness.                                         2   deposition as well, and I read two documents, one by
 3         REPORTER: Would you please raise your             3   Dr. Ritz and one by Dr. Mucci that was provided to
 4      right hand.                                          4   me by counsel.
 5   C H A D I N A B H A N,                                  5       Q. Those were expert reports?
 6      called as a witness, having been duly sworn,         6       A. Yes.
 7      was examined and testified as follows:               7       Q. Anything else, sir?
 8   EXAMINATION                                             8       A. No.
 9   BY MR. GRIFFIS:                                         9       Q. So you mentioned some previous papers, such
10      Q. Good morning, sir.                               10   as DeRoos 2005, which we discussed at your prior
11      A. Good morning.                                    11   deposition. Other than that, the only new things
12      Q. We've met one time, and that was at your         12   that you have reviewed since your last deposition
13   previous deposition; is that right?                    13   concerning glyphosate and non-Hodgkin lymphoma or
14      A. Correct.                                         14   glyphosate alone or non-Hodgkin lymphoma alone are
15         (Exhibit 29-1 marked for identification.)        15   the Journal of National Cancer Institute's study
16      Q. I have marked as Exhibit 1 -- and these          16   2018, the editorial comment by Elizabeth Ford [sic],
17   exhibits that I'm about to describe are in front of    17   and depositions of Drs. Neugut and Jamison and
18   you, sir -- Exhibit 1 your supplemental expert         18   expert reports of Dr. Ritz and Mucci; is that
19   report; correct?                                       19   correct?
20      A. Correct.                                         20       A. Correct.
21         (Exhibit 29-2 marked for identification.)        21       Q. The publication that is Exhibit 2, sir, the
22      Q. As Exhibit 2, an article by Andreotti and        22   Journal of the National Cancer Institute 2018
23   others appearing in the Journal of the National        23   publication, how did that come to your attention?
24   Cancer Institute in 2018 entitled "Glyphosate Use      24       A. I actually do get a table of contents for a
25   and Cancer Incidence in the Agricultural Health        25   lot of the oncology-specific journals that I --


                                               Page 7                                                      Page 9
 1   Study"; correct?                                        1   through my e-mail, and then it was also provided to
 2       A. Correct.                                         2   me by counsel. But I have learned about it because
 3         (Exhibit 29-3 marked for identification.)         3   I have -- I get table of contents for about 20
 4       Q. And as Exhibit 3, the notice of this             4   journals that -- whenever something is -- is out
 5   deposition; correct?                                    5   oncology related, I get notified.
 6       A. Correct.                                         6       Q. When you received the table of contents
 7       Q. Have you seen the notice of deposition           7   mentioning this article, did you retrieve it and
 8   before, sir?                                            8   read it then?
 9       A. I have.                                          9       A. Not all of the journals I can get the
10       Q. It asks you to provide us with documents        10   actual full article. I get the abstracts usually,
11   that you have reviewed regarding glyphosate and        11   so I wasn't able to immediately retrieve it, but
12   non-Hodgkin lymphoma, or either of those, since our    12   then subsequently I did.
13   last deposition.                                       13       Q. How long did you spend reviewing this
14         What have you brought in response to that,       14   article?
15   sir?                                                   15       A. I did not keep track of the number of
16       A. Actually, I don't have anything in print.       16   hours. I would say maybe about two hours, give and
17   I've reviewed the paper, the -- that you have, which   17   take.
18   is Exhibit 2. I reviewed the editorial comment that    18       Q. And did you -- you know, we discussed at
19   was written in the journal at the same time, written   19   your last deposition at some length your methodology
20   by Elizabeth Ward, and I've refreshed my mind with     20   and your process for evaluating scientific
21   the previous papers that we discussed at the           21   literature.
22   previous deposition, specifically the DeRoos study     22          Did you apply the same process and
23   from 2005. That's about it.                            23   methodology in reviewing this article that you
24         I have read some of the other depositions        24   applied previously in reviewing scientific
25   that were done. Dr. Neugut's deposition, I had a       25   literature about glyphosate and non-Hodgkin



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                                             Page 10                                                      Page 12
 1   lymphoma?                                               1   Institute 2018 study to be an improvement and an
 2       A. Of course.                                       2   expansion on the DeRoos 2005 data?
 3       Q. And how would you describe the process that      3       A. It's an expansion because it reports on
 4   you used to weigh this new study in forming opinions    4   longer follow-up and additional cases that have been
 5   about glyphosate causation?                             5   reported, as you are -- well know. You can't really
 6       A. I'm not sure I understand the question.          6   improve on it because the study is what the study
 7   How do I describe the process?                          7   is. It's been designed in the '90s, and you can't
 8       Q. Yes.                                             8   improve on a study design. I have a lot of
 9       A. It's similar to the process I apply to any       9   reservations about the study design that was done.
10   scientific article with -- that I have an interest     10   So you can't improve on that. It's already done.
11   in. I read the paper. I try to understand the          11       Q. In -- as a piece of evidence that you are
12   conclusions, and try to understand what                12   weighing in deciding whether glyphosate-containing
13   methodologies were applied to each of these            13   substances can cause non-Hodgkin lymphoma, do you
14   conclusions, and I form an opinion.                    14   give more weight to the NCI 2018 study or to the
15       Q. How informative do you consider the 2018        15   DeRoos 2005 study?
16   National Cancer Institute study to be with regard to   16       A. I would give more weight to the NC -- the
17   the issue of whether glyphosate-containing             17   JNCI article, because it is obviously longer
18   substances can cause non-Hodgkin lymphoma?             18   follow-up and there are more cases, so I think it
19       A. Well, I always applaud any study that           19   makes sense to take the data that is coming in this
20   provides long-term follow-ups. I mean, I think this    20   article as an update, and it has more weight because
21   is really critical in oncology and in the              21   there are more cases.
22   literature. There are many studies that usually are    22       Q. And in what ways does the 2018 NCI data
23   done, and you actually don't get any updated           23   improve on the data from 2005?
24   literature and so forth. But it did not add            24       A. Longer follow-up. The longer follow-up and
25   anything that -- rather unusual or did not really      25   the additional cases that have been reported.


                                             Page 11                                                      Page 13
 1   change anything pertaining to the body of               1   That's pretty much it.
 2   literature, but it's good that there is a longer        2       Q. You would agree that this is a piece of
 3   follow-up. I applaud the authors for doing so.          3   evidence that weighs against causation; correct?
 4       Q. So there was a previous article that we          4       A. It is a piece of evidence that suggests no
 5   talked about, the DeRoos 2005 study --                  5   causation between glyphosate and non-Hodgkin
 6       A. Correct.                                         6   lymphoma, which I don't agree with.
 7       Q. -- which reflected the early report of data      7       Q. So you agree that it is a piece of evidence
 8   from the same set of data; correct?                     8   against causation, but you disagree overall with
 9       A. Correct.                                         9   that conclusion that there is no causation; is that
10       Q. And this is the follow-up that you were         10   accurate?
11   just referring to; correct?                            11       A. I do disagree with the conclusion, yes.
12       A. Yeah. This is the follow-up, and as I           12       Q. And the rest of what I said is accurate as
13   said, I always applaud and I enjoy the fact that       13   well; correct?
14   authors and scientists look at follow-up data          14       A. Yes.
15   because there is much in the literature where you      15       Q. As a piece of evidence against a causal
16   don't see a lot of follow-up. And I believe there      16   connection between glyphosate-containing substances
17   would be additional papers, follow-up on the AHS.      17   and non-Hodgkin lymphoma, how much does this weaken
18   It is ongoing, so I don't believe this would be the    18   your original opinion stated in your original expert
19   last paper coming out.                                 19   report that glyphosate causes non-Hodgkin lymphoma?
20       Q. You know that the -- there are multiple         20       A. It does not weaken it at all.
21   publications from this same set of data on issues      21       Q. Why doesn't it weaken it at all?
22   other than glyphosate and non-Hodgkin lymphoma;        22       A. It doesn't add any information. It just
23   correct?                                               23   adds longer follow-up to a previously done study.
24       A. Yes, I'm aware of that.                         24   It provides no additional scientific information of
25       Q. Do you consider the National Cancer             25   substance.




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                                              Page 14                                                    Page 16
 1       Q. Okay. Could you explain, please, what you        1   conclusions, but I don't dismiss it.
 2   mean by "adding no additional scientific                2      Q. What information, data, or conclusions in
 3   information" between the DeRoos 2005 data and the       3   the NCI 2018 study do you consider to be reliable?
 4   NCI 2018 data?                                          4      A. As I said, the -- the way the Agricultural
 5       A. So the JNCI paper basically adds longer          5   Health Study has been set to look at the incidence
 6   follow-up. So the follow-up now is through 2012 for     6   of cancer and pesticides, including glyphosate, and
 7   North Carolina and 2013 for Iowa. So that's really      7   from these cancers, non-Hodgkin lymphoma, has been
 8   what it adds. And it is rather predictable and          8   established several decades ago. So that's not
 9   expected with longer follow-up you will have more       9   going to change, the way the study is designed and
10   cases reported of cancer in general, non-Hodgkin       10   the way the study is conducted. All what we are
11   lymphoma.                                              11   going to see is additional follow-up and additional
12         That's really all what this study adds. It       12   cases and additional things that are reported with
13   doesn't change the way the study was designed, it      13   longer follow-up.
14   doesn't change the drop of follow-up questionnaires,   14         So what the JNCI paper adds is that, with
15   it doesn't change the fundamental flaws that exist     15   longer follow-up, this is what we have seen in terms
16   in the Agricultural Health Study that were present     16   of additional cases, and the conclusions of this
17   previously in the DeRoos study.                        17   particular paper mirrors the conclusions of the
18       Q. I'm just trying to understand fully the         18   DeRoos paper. There are no really differences in
19   difference between your statement that this -- this    19   conclusions, the way I read this paper. Basically,
20   has more weight than DeRoos 2005, given the            20   the conclusions of this paper are rather similar to
21   additional follow-up, but adds nothing of scientific   21   the conclusions of the 2005 paper.
22   value. Could you explain what you mean, please?        22      Q. What size epidemiological study would it
23       A. What I mean by "more weight" is when you        23   take to shake your conviction that
24   have a longer follow-up study or you have additional   24   glyphosate-containing substances cause non-Hodgkin
25   study that reports on the actual trial itself, you     25   lymphoma?


                                              Page 15                                                    Page 17
 1   will take the output or you would take the results      1          MR. LITZENBURG: Objection to form.
 2   of the latest follow-up, and it -- basically, you       2      A. So there is no such a thing. You actually
 3   don't need to go back and take a look at DeRoos any     3   have to define this a priori. Prior to designing
 4   longer.                                                 4   the study, you have to decide, what -- what am I
 5          In other words, in the future, as we             5   looking for, how do I design the study, what are the
 6   continue to evaluate the Agricultural Health Study,     6   number of subjects I'm actually looking at, what's
 7   nobody's going, in my opinion, to go back and take a    7   the power of the study, et cetera, and you make that
 8   look at DeRoos study any more in 2005. Why would        8   decision.
 9   they? We have now an update in 2018, so that            9          I'm not an epidemiologist or a
10   becomes the benchmark at which you compare future      10   statistician, but you don't make these decisions
11   updates against. That's what I mean.                   11   actually after the fact. You actually make these
12       Q. Okay. In your opinion, is this study so         12   decisions in the process when you design a study.
13   flawed -- I know we'll be talking about some of the    13   BY MR. GRIFFIS:
14   flaws that you believe exist in the study later --     14      Q. Well, you came to this after the fact.
15   is it so flawed that it isn't of any value in          15      A. Right.
16   assessing whether glyphosate-containing substances     16      Q. You are not an epidemiologist. You weren't
17   can cause non-Hodgkin lymphoma?                        17   designing a study. You were looking at studies that
18       A. Well, it really depends how you define          18   had been published, and you came to a conclusion,
19   "value." I believe anything in the literature does     19   without knowing about this because it didn't exist
20   bring some kind of value, and I think we -- we just    20   yet, that glyphosate caused non-Hodgkin lymphoma;
21   have to take this in the context of other              21   correct?
22   epidemiologic evidence and other body of literature    22      A. Correct.
23   that exists. I don't dismiss anything that is          23      Q. What size new epidemiology study would it
24   published that is being peer reviewed and out in the   24   take to shake your conviction?
25   literature. I may not agree with all the               25      A. Well, at this point, nothing would
                                                                                                      w      shake my



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                                             Page 18                                                      Page 20
 1   conviction because, you know, short of doing the        1       Q. On Page 7, sir.
 2   randomized control trials where you expose some         2       A. Okay.
 3   subjects to glyphosate and others to no glyphosate      3       Q. Let's go to the last paragraph, "In
 4   and demonstrate that the subjects who received          4   conclusion, we found no evidence of an association
 5   glyphosate do not have non-Hodgkin lymphoma, similar    5   between glyphosate use and risk of any solid tumors
 6   to the folks who don't receive glyphosate, and          6   or lymphoid malignancies, including NHL and its
 7   that's obviously a trial that cannot and should not     7   subtypes."
 8   be performed.                                           8         As we discussed, that accurately describes
 9          So the body of evidence so far that I have       9   the conclusions of the NCI 2018 study; correct?
10   reviewed is convincing that there is a causation and   10       A. That accurately describes the conclusions
11   an association between glyphosate and non-Hodgkin      11   that you just read, yes.
12   lymphoma. This is an update of a previously            12       Q. You read the deposition of Dr. Neugut, you
13   published trial in 2005 that I have took under full    13   said?
14   consideration when I reviewed the body of literature   14       A. I did.
15   before.                                                15       Q. Do you agree with Dr. Neugut that -- and
16       Q. So it's your view that this is something        16   Dr. Neugut is an epidemiology expert that has been
17   that you have previously -- essentially this is        17   named by the plaintiffs; correct?
18   something that you have previously considered since    18       A. Yes, he is.
19   it's an expansion of data from an article that you     19       Q. You agree with him that the Journal of the
20   previously considered; is that fair?                   20   National Cancer Institute is one of the most highly
21       A. That is correct.                                21   respected journals in the world?
22       Q. Turn to Exhibit 2, sir, which is the            22         MR. LITZENBURG: Object to form.
23   National Cancer Institute 2018 study. I want to ask    23       A. I -- I actually don't think that JNC -- I
24   you about some specific things therein.                24   mean, it's a good journal. I don't think it's one
25          First, I'm in the abstract, the                 25   of the most highly respected journals in the world.

                                             Page 19                                                      Page 21
 1   conclusions. Do you see that?                           1   I think there are a lot of papers that get published
 2       A. I do.                                            2   there that I have problems with, but it does have a
 3       Q. "In this large, prospective cohort study,        3   high impact factor, and it's definitely one of the
 4   no association was apparent between glyphosate and      4   very good oncology journals that we view highly. I
 5   any solid tumors or lymphoid malignancies overall,      5   think "in the world" is stretching it.
 6   including NHL and its subtypes."                        6   BY MR. GRIFFIS:
 7         Did I read that right?                            7       Q. You do -- do you agree with Dr. Neugut that
 8       A. You did.                                         8   the Journal of the National Cancer Institute's
 9       Q. And that was -- that accurately reports          9   impact factor is routinely among the top 5 percent
10   what they found in the NCI 2018 study; correct?        10   of all oncology journals in the world?
11       A. That reports their conclusions, correct.        11          MR. LITZENBURG: Object to form.
12       Q. Page 5, sir, first sentence under the           12       A. In oncology.
13   "Discussion" section: "In this updated evaluation      13   BY MR. GRIFFIS:
14   of glyphosate use and cancer risk in a large           14       Q. You agree with that?
15   prospective study of pesticide applicators, we         15       A. It is in the top -- I actually don't have
16   observed no associations between glyphosate use and    16   the actual -- I will have to look it up. I'm not
17   overall cancer risk or with total                      17   sure top 5 percent, top 10 percent, but it has a
18   lymphohematopoietic cancers, including NHL and         18   high impact factor. I don't want to state
19   multiple myeloma."                                     19   mistakenly what it is. I would need to search and
20         I read that correctly?                           20   see what the top 5 percent. I'm sure it's in the
21       A. You read it correctly.                          21   public domain.
22       Q. And that accurately describes the findings      22       Q. The peer reviewers of the JNCI apply a
23   of the NCI 2018 study; correct?                        23   rigorous peer review; correct?
24       A. Of the authors who published in the JNCI        24       A. I think peer reviewers for every journal
25   paper.                                                 25   should apply rigorous peer review, whether it's JNCI



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 1   or other papers.                                       1   Department of Epidemiology at the University of
 2        Q. And JNCI has a reputation for rigorous peer    2   Iowa.
 3   review like other top journals; right?                 3       A. And Public Health in Philadelphia.
 4        A. I don't know what peer review process they     4       Q. And Public Health in Philadelphia
 5   have. I don't peer review for them. I peer review      5   respectively; correct?
 6   for other journals, but I'm not sure what the peer     6       A. Correct.
 7   review process that exists at the JNCI.                7       Q. The bottom line of the first page, sir,
 8        Q. You haven't been asked to peer review for      8   says, "Published by Oxford University Press 2017.
 9   JNCI?                                                  9   This work is written by U.S. Government employees
10        A. I'm not a peer reviewer for JNCI, no.         10   and is in the public domain in the U.S." Correct?
11        Q. Take a look at the authors for Exhibit 2,     11       A. Yes, correct.
12   sir.                                                  12       Q. There are no industry authors or
13        A. Sure.                                         13   affiliations for this study; correct?
14        Q. And you see that under the listing of         14       A. There are no industry authors or
15   authors there is "Affiliation of authors"?            15   affiliations. I have not looked at any conflict of
16        A. I see that, yes.                              16   interest of these authors, but I'm not aware of any.
17        Q. And by using their -- by designating them     17       Q. At the end, sir, there is a statement about
18   with initials, they show which branches and           18   funding; correct?
19   subbranches of the National Cancer Institute a        19       A. What page?
20   number of the authors belong to.                      20       Q. It's Page 7.
21          Do you see that?                               21       A. Yeah, I see that.
22        A. I see that.                                   22       Q. "This work was supported by the Intramural
23        Q. And do you see that one, two, three, four,    23   Research Program of the National Institutes of
24   five, six, seven, eight of the authors work at the    24   Health, National Cancer Institute, Division of
25   National Cancer Institute?                            25   Cancer Epidemiology and Genetics, National Institute

                                             Page 23                                                     Page 25
 1       A. I haven't counted. I'll take your word for      1   of Environmental Health Science, the Iowa Cancer
 2   it. I'm -- I'm sure you did, one, two, three, four,    2   Registry, and Iowa's Holden Comprehensive Cancer
 3   five, six at the Occupational and Environmental        3   Center, as well as the NIEHS-funded Environmental
 4   Epidemiology Branch, and that's six, and then seven    4   Health Sciences Research Center at the University of
 5   is the Division of Statistics at the NCI. I think      5   Iowa." Correct?
 6   seven, as you said -- you said seven?                  6       A. Correct.
 7       Q. And then formerly of Occupational and           7       Q. So it's all government funding, mostly
 8   Environmental Epidemiology Branch, over on the next    8   federal government funding, to the National
 9   line, Michael Alavanjas, who is deceased, which is     9   Institutes of Health; correct?
10   why is formerly.                                      10       A. Yes, this information is not new. I mean,
11       A. Okay.                                          11   this has been the case since the inception of the
12       Q. Division of Cancer Epidemiology and            12   Agricultural Health Study. There's nothing new
13   Genetics, National Cancer Institute, so those eight   13   here.
14   are National Cancer Institute employees or former     14       Q. Do you agree that National Institutes of
15   employees due to deceased?                            15   Health funding means that high standards and best
16       A. Okay. I mean, do you want me to count          16   practices are used to ensure that the data is
17   them? I'm fine. It could be seven, it could be        17   accurate?
18   eight. I see the majority of the authors are          18       A. It doesn't ensure the data is accurate. It
19   affiliated with the National Cancer Institute.        19   just basically -- all what it does, it provides
20       Q. And then two more are with the National        20   funding for a study that the NIH views important.
21   Institutes of Health, a epidemiology branch,          21   You don't know what data you will generate from the
22   National Institute of Environmental Health Sciences   22   funding, because when you fund a study, you don't
23   at the National Institutes of Health?                 23   really know what you are going to come with the
24       A. I see that, yes, DPS and CGP.                  24   study. You just decide on funding the study upon
25                                                         25   its inception, because you view it important in the
         Q. And then the remaining two with the



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 1   public domain.                                          1       A. It was compelling to the peers that
 2         And that's what the NCI and the NIH did.          2   reviewed this paper that they wanted this to be
 3   They funded the study and -- because of interests,      3   published. That's what you can tell from a peer
 4   obviously, to the general public.                       4   review process.
 5      Q. Have you had an NIH-funded study before?          5       Q. By the way, do you know -- we had some
 6      A. No, I'm not a basic scientist. They do            6   discussion at your prior deposition about the IARC
 7   more for basic science.                                 7   Monograph being published in the Lancet. Do you
 8      Q. I'm going to ask the question again,              8   know if IARC Monographs, when they're published in
 9   because I think you focused on the conclusions and      9   Lancet are published there just by arrangement
10   whether the conclusions are accurate.                  10   automatically or if there is actually a peer
11      A. Sure.                                            11   reviewed process first?
12      Q. My question is this, sir: Do you agree           12       A. I don't know, but I believe there is
13   that NIH funding -- and perhaps you don't know, but    13   actually a peer review.
14   do you agree that NIH funding means that high          14       Q. Based on --
15   standards and best practices are used to ensure that   15       A. I don't -- I don't think there is any paper
16   data is accurate?                                      16   that gets into Lancet without peer review.
17      A. Yes.                                             17       Q. And what --
18      Q. We talked -- the -- let's talk for a moment      18       A. I review for Lancet Haematology, and I'm
19   about peer review with regard to this study, sir.      19   not aware -- I mean, the Lancet -- there's no -- to
20         Peer review -- this went through a peer          20   my knowledge, there is no paper that gets published
21   review process, which means that it has been           21   in any of these journals without a review, JNCI or
22   reviewed by experts in the field in order to be        22   Lancet or Lancet Oncology or whatever it is. All of
23   accepted for publication; correct?                     23   these are peer review. And I'm a peer reviewer for
24      A. Yes.                                             24   Lancet Haematology, so I know for a fact that all of
25      Q. The authors that we just reviewed are            25   these things get reviewed.


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 1   themselves epidemiology experts, and this would have    1          Whether there's an arrangement between --
 2   been reviewed by peers who understand epidemiology      2   you know, you could say the same for this, whether
 3   as well; correct?                                       3   there's an arrangement between these authors and the
 4       A. I presume so. I'm not really sure who            4   JNCI where you expedite things and just get
 5   reviewed the paper. I think it's -- again, we just      5   published and just do a peer review, which is not
 6   don't know who reviewed it, but your presumption is     6   the same peer review that you would do for other
 7   probably accurate, that it will be sent to folks who    7   papers, I'm not aware. I don't think we need to
 8   understand the field, but we just don't know really     8   speculate that.
 9   who peer reviewed it.                                   9      Q. Okay.
10       Q. The body of evidence was robust enough that     10      A. We don't know.
11   it was accepted by the peer reviewers, whoever they    11      Q. So just to be clear, you don't know whether
12   were; correct?                                         12   IARC has an arrangement with Lancet that their
13       A. So acceptance of papers in the literature       13   publications are deemed peer reviewed internally and
14   does not always necessarily reflect that the paper     14   don't go through an additional Lancet peer review?
15   has no flaws or has -- or the body of evidence is      15      A. What I have said is I don't believe any
16   irrefutable. There are many journals and many          16   paper gets published in Lancet without being
17   articles.                                              17   subjected to a peer review. That's what I' said.
18          So what this means, when a paper like this      18      Q. But the basis -- okay. But the basis for
19   is accepted in the JNCI, it means that the reviewers   19   that is not inside knowledge about the Lancet's peer
20   that reviewed this paper found merit that it -- it     20   review process or their arrangements with IARC?
21   is worthy of publication in the JNCI. That's really    21      A. The basis of that, that any journal out
22   all that means.                                        22   there usually have this as a particular standard.
23       Q. You would agree that the body of evidence       23   There's no reason to believe that the Lancet would
24   was robust enough that the peer reviewers accepted     24   deviate from the standard.
25                                                          25          You know, when you look at the JNCI paper,
     it for publication?



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 1   for example, just to give you just an example, the      1   any paper that gets submitted for peer review, you
 2   paper was received for the first time on                2   should not know who wrote it or the affiliations of
 3   August 22nd, 2017, when you look at the bottom. It      3   the authors. So as a peer then, when you look at
 4   was revised less than four weeks later. And as a        4   the paper, you don't get biased by, oh, this person
 5   peer reviewer for over 12 journals, for a journal       5   is from a prestigious place and this name is great,
 6   like the JNCI to have this reviewed and peer            6   so it must be a good paper.
 7   reviewed and submitted back in less than four weeks     7          But this is not the way things are going,
 8   is rather unusual for a rigorous peer review, and       8   so right now you get access for the most part to the
 9   then it was accepted within two weeks on                9   authors' names and affiliations and so forth.
10   October 6th, 2017.                                     10          So whatever these authors declared in their
11          So I don't know how rigorous the peer           11   conflict of interest is usually available for the
12   review was here, but I can tell from you a Lancet      12   peers to look at and make their own decision.
13   perspective, it's very rigorous, and it's very         13       Q. Do they -- do peer reviewers look at
14   difficult to get a paper in Lancet. The same should    14   whether the authors are free of bias?
15   apply for JNCI, but I don't know what kind of          15       A. When I peer review, I usually do. I'm not
16   arrangement was here for a paper to be published in    16   sure -- I don't know whether the peers that reviewed
17   less than four weeks that has thousands of cases and   17   this paper did. I don't know. I don't know who
18   so forth. So I don't know.                             18   reviewed it.
19       Q. You would be equally skeptical if the           19       Q. Do peer review -- do the peer -- would the
20   Lancet publication was that fast or faster; right?     20   peer reviewers of JNCI have looked at whether the
21       A. I think if I'm going to put my skepticism       21   conclusions were actually supported by the evidence
22   hat, I could be skeptical about any paper, when I      22   that was provided?
23   usually look at the received and revised. But I        23       A. Again, I don't know what they looked at.
24   would maintain the hope that all of these journals,    24   It's hard for me to speculate what the peer -- what
25   JNCI, Lancet, and all of them, maintain the peer       25   the peers that reviewed this paper, who I don't know

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 1   review process, the rigorous process, because if I'm    1   who they are, what they looked at and how they
 2   going to wear my skepticism hat, I would be skeptic     2   reached the conclusion of publishing or rejecting or
 3   about this one as well, in terms of peer review, and    3   revising it and so forth. I don't know who they
 4   I'm -- I'm not going to go there, because I believe     4   are. I don't know what the process that they
 5   this was peer reviewed and the other one was peer       5   implemented. I did not review the paper, and I
 6   reviewed.                                               6   don't know who reviewed it.
 7       Q. So you're not going to wear your skeptic         7      Q. Okay. Let me read you your testimony
 8   hat for either one of them?                             8   regarding the Lancet peer review of the IARC
 9       A. No, I won't.                                     9   Monograph.
10       Q. When they did the peer review of the NCI        10      A. Sure.
11   2018 paper, the peer reviewers would have actually     11      Q. And tell me if you think that it applies to
12   looked at the hypothesis being explored; correct?      12   this peer review as well.
13       A. Yes, of course.                                 13      A. Go ahead.
14       Q. And they would have looked at whether the       14      Q. "So when you do a peer review, you actually
15   authors were free of bias; correct?                    15   have to look at the hypothesis, whether the
16       A. Well, that's actually a tough thing, to be      16   methodology is sound, whether the authors were free
17   honest. And, again, as -- as somebody who does a       17   of bias, and whether their conclusions actually were
18   lot of peer reviews, you know, all what you can look   18   supported by the evidence that they provide."
19   at is the declared conflict of interest, and, you      19         That's your testimony regarding the Lancet
20   know, oftentimes, you know, it's really tough to       20   peer review of the IARC Monograph. Does that apply
21   know all of these conflicts. But we try not to take    21   just as well?
22   it into consideration when we review the papers.       22      A. That should be the case for any peer review
23          And I can tell you, I've advocated for          23   for any journal, whether it's Lancet, JNCI, JCO.
24   years that peer review should be blinded to the        24   What -- what --
25   reviewers and the authors. I actually think that       25      Q. That should you apply just as well to



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 1   Exhibit 2, the JNCI 2018 study; correct?                1   us know how -- how powerful the paper they want in
 2       A. It should apply, yes, but what you asked         2   order for us to approve it.
 3   me, did it apply, and I said I don't know. But it       3         They also -- most journals will tell you
 4   should apply for any peer review process. I agree       4   what the audience that they want. So for some of
 5   with that hundred percent.                              5   the journals I review for, they say, we want this to
 6       Q. So it should apply, but you don't know if        6   apply for the general medical audience, not just
 7   it did apply to JNCI. You also don't know if it did     7   oncologists, not just epidemiologists. So if you
 8   apply to Lancet; right?                                 8   are a primary care physician you would be
 9       A. Absolutely. But, I mean, again, like I           9   interested. And other journals say, we want
10   said, I'm trying not to wear my skepticism hat here,   10   something that is practice changing, something
11   and I would believe that, for the most part, these     11   fundamental.
12   papers get reviewed, and the reviewers, if they find   12         So you will have to know, you know, from
13   merit to the publication, they will accept. If they    13   the editor in chief usually and the editorial board
14   don't, they will reject. And that's really all what    14   what they are looking for, and if that's what they
15   we can say. We just don't know who they are and how    15   are looking for, I see no reason for it not to be
16   rigorous their review process was.                     16   published in the JNCI. I would have approved it.
17       Q. Had you been asked to peer review this          17      Q. Okay. So I'm just going back to the
18   paper, would you have passed it for publication?       18   standards for peer review. You were talking about
19       A. Yes. It would be a conflict of interest.        19   you being a peer reviewer at your last deposition
20   Yes, I would have not reviewed.                        20   and the standards that should be applied, you don't
21       Q. Let's say you had no conflict of interest.      21   know if they were applied by particular peer
22   Would you have approved it for publication?            22   reviews, but presumably you follow your own
23       A. I mean, I think this would be published         23   standards in peer review?
24   somewhere. Every paper has a journal, and every        24      A. Yeah, sure.
25   journal has to have papers. It's a matter whether      25      Q. So in saying that this should be approved

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 1   you think this is a JNCI or a JCO or some other less    1   for publication, you actually looked at the
 2   specialized type of paper, because to me this is a      2   hypothesis, at whether the authors were free of
 3   follow-up data on a previous study.                     3   bias, and whether their conclusions actually were
 4         So, yes, I think the follow-up should be          4   supported by the evidence that they provide;
 5   published. I'm -- I would be very supportive -- I       5   correct?
 6   would have approved it for publication.                 6       A. Yes, I would look at that. I mean, just
 7         The question that I usually look at,              7   because the study is negative, it doesn't -- and I
 8   whether this type of paper should be published in a     8   disagree with the conclusion, it doesn't mean I'm
 9   journal like the JNCI, because the JNCI has a little    9   going to say it can't be published. I -- I think
10   broader spectrum in terms of the audience, or maybe    10   it's a very good to have a healthy debate. It's
11   a more specialized journal, like more of a specific    11   fine.
12   epidemiology journal, specific environmental type of   12       Q. Yes, sir. And you have reviewed it, and
13   journal. That would be the thing I would have had      13   you agree that the hypothesis is sound, the authors
14   to think about when deciding, but I do believe it      14   are free of bias, and the conclusions are supported
15   should be published, absolutely. With this long        15   by the evidence provided; correct?
16   follow-up, I think it should be published.             16       A. I never said the hypothesis is sound. In
17       Q. Would you have approved it for publication      17   fact, I said there are so many flaws in this study
18   in JNCI?                                               18   that did not really change just because you have a
19       A. The thing that -- the reason I don't know       19   longer follow-up. But all I said is, with longer
20   how to answer this because I -- you know, for the      20   follow-up, it is appropriate to report on additional
21   journals that I review for, I know exactly a priori    21   public and additional data and so forth.
22   the type of papers that they want, so I think the      22          The hypothesis, as it was present in the
23   JNCI would tell usually the reviewers that we want     23   DeRoos study, remains the same hypothesis in the --
24   papers that are in the top 25 percent or top           24   all what this is is just an update. I mean, all
25   20 percent or top 10 percent. So they usually let      25   what this is is an update of a previously flawed



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 1   study. That's what you did.                             1      A. That's correct.
 2      Q. Do you --                                         2      Q. "Second, the study essentially ended in
 3      A. Just --                                           3   2001, not accounting for the more expanded and
 4      Q. Do you agree or disagree, sir, that the           4   increased use of glyphosate after that year."
 5   conclusions given in the NCI 2018 study are             5   correct?
 6   supported by the evidence provided?                     6      A. Correct.
 7      A. The authors' conclusions are supported by         7      Q. "Third, and most importantly," you write,
 8   the evidence that they actually showed. The             8   "significant dropout rate in study participants
 9   evidence has a lot of flaws, and subsequently the       9   where follow-up and full interviews were completed
10   conclusions will have a lot of problems. But, yes,     10   for only 63 percent of individuals." Correct?
11   their conclusions is supported by the evidence that    11      A. Correct.
12   they evaluated.                                        12      Q. "Additionally, the AHS study relied on
13      Q. Looking at Exhibit 1, sir, your                  13   self-reporting, which certainly resulted in some
14   supplemental expert report.                            14   additional misclassification of exposure/use."
15      A. Okay.                                            15   Correct?
16      Q. In the first sentence of the analysis --         16      A. Correct.
17   you have an introductory paragraph, which I'm          17      Q. And "Lastly, in the authors' own admission,
18   omitting -- the first sentence of your analysis, you   18   there was an increased risk of multiple myeloma with
19   write, "I have read and analyzed this publication,     19   glyphosate exposure." Correct?
20   and my overall opinion remains unchanged." Correct?    20      A. Correct, and acute leukemia as well.
21      A. Correct.                                         21      Q. And the last one isn't a flaw in the study;
22      Q. Did your reading an analysis of this             22   correct?
23   publication, was that as in depth as it would be for   23      A. Say again? I'm sorry.
24   a peer review?                                         24      Q. You don't consider the last one to be a
25      A. Of course. I don't have to make the              25   methodological flaw in the study; correct?

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 1   decision whether it's accepted or rejected. It's        1       A. It's not a methodological flaw, no.
 2   already published.                                      2       Q. It is instead a point in favor of
 3       Q. But the process that you went through in         3   glyphosate-containing substances causing some type
 4   reading and analyzing it was as thorough as the         4   of cancer; right?
 5   process that you would go through in reviewing a        5       A. Correct.
 6   draft for a publication; is that right?                 6       Q. As far as the one that you have identified
 7       A. Yes, similar and similar to the body of          7   as most important, the significant dropout rate,
 8   literature I reviewed that we discussed in my           8   would you please explain why you consider that to be
 9   previous deposition.                                    9   a flaw?
10       Q. You say, "There are several flaws in this       10       A. You basically have missing data for
11   study that challenges the recent conclusions stated    11   40 percent -- almost 40 percent of individuals. I
12   by Andreotti, et al." Correct?                         12   mean, so -- I mean, it's very difficult, rather
13       A. It should have been "challenge," but, yes,      13   impossible, to make a sound conclusion on a study
14   that is it.                                            14   that was powered with the assumption that you need
15       Q. And this is the complete list of flaws that     15   to have all of these patients enrolled and
16   you believe exist in this study; correct?              16   reporting, and then 40 percent you don't have enough
17       A. As I was able to discern.                       17   information on.
18       Q. You don't have any other in mind right now;     18         So it's very difficult for me, as I sit
19   right?                                                 19   here, to figure out, how would you actually reach a
20       A. Not at this point.                              20   conclusion when you don't have information -- proper
21       Q. Okay. We'll run through them, and then we       21   information for -- for that many patients.
22   will talk about them.                                  22       Q. Do you know the process that was used to
23          The first one was that the study was            23   address that issue?
24   restricted to two states, North Carolina and Iowa,     24       A. When I looked at the paper, they talked
25   not representing other states; correct?                25   about, you know, imputation of data, which, again,



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 1   I'm not an epidemiologist, but I don't believe that     1   study design. That's fine. It's great. But as a
 2   this is an appropriate way of -- you're simply          2   clinician, when I have to take this into account,
 3   guessing, I mean, pretty much. Imputation, to me,       3   it's very difficult to take it into account because
 4   is you're trying to guess the data on 40 percent,       4   you have a lot of missing information.
 5   almost 40 percent of folks we don't have information    5          If you take any type of trial in the
 6   on. That's really what it is. It's just a fancier       6   oncology literature and you say, we've lost data on
 7   word for statistics -- statisticians to use who are     7   40 percent of patients, and these are the results,
 8   doing imputation of data.                               8   you will have a lot of eyebrows raised trying to
 9          But at the end of the day, you're really         9   figure out how you can reach a conclusion with that
10   guessing, and you're trying to fill in the blanks.     10   many dropout rate.
11   And maybe if you're filling the blanks for             11          Again, I recognize there are other
12   5 percent, 7 percent of the folks that you did not     12   statistical methods to remedy all of these things.
13   have a follow-up, I would be tolerant of that. But     13   What I'm saying is, I don't agree with them because
14   when you're close to 40 percent, that's really         14   somehow the authors or the scientists or the folks
15   stretching it.                                         15   who are in charge of the AHS should have figured out
16          So whatever methodology, imputation, not        16   a way to assure low dropout rate, more follow-up,
17   imputation, it doesn't matter to me. If you have       17   more rigorous follow-up. That's really where the
18   40 percent that you are missing, and you are trying    18   rigor is, in the design of the study and how you
19   to fill in the blanks, it's just not going to          19   conduct the study, not after the fact.
20   resonate with me as a scientist and as a lymphoma      20       Q. So do you believe that imputation makes
21   specialist.                                            21   studies invalid for your consideration, regardless
22       Q. And you believe that the conclusions of the     22   of how rigorous or reliable epidemiologists believe
23   NCI 2018 study irrevocably depend upon the             23   imputation to be?
24   imputations of that missing data; correct?             24       A. I may not agree with what epidemiologists
25       A. Well, I think a lot of the conclusion is        25   come up with because I'm a clinician ultimately, and

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 1   dependable on that, yes.                                1   I will have to figure out how to counsel patients
 2       Q. And if there was a portion that didn't           2   based on the available body of the literature.
 3   depend on that, you would have no objection to that     3          What I said -- I didn't say it would be
 4   conclusion; right?                                      4   invalid. I would say it makes any study
 5       A. I would -- again, I would look at it. I          5   significantly less powerful. I am fully aware that
 6   mean, I realize that they did a lot of analysis for     6   imputation is actually a statistical methodology and
 7   folks who had the follow-up and other individuals       7   it does exist and people do it, so I can't dismiss a
 8   who did not have the follow-up, and they tried to do    8   particular methodology that is being done by my
 9   the imputation and they did the analysis only for       9   colleagues, whether they are statisticians or
10   patients who they had the information on. So I'm       10   epidemiologists.
11   fully aware of all of the analysis that they did.      11          What I said is when I see that process
12          And, again, it's -- what I said is that the     12   being applied to 40 percent, then I have issues with
13   missing data and the -- is not going to be, in my      13   that, and I question the significance of it. And I
14   mind, remedied by the imputation of data. You          14   don't know what the threshold where I don't have a
15   probably have to ask a lot of statisticians and        15   significance, but, you know, 5 to 10 percent, maybe
16   epidemiologists of this. But as a clinician, when      16   I have some tolerance to that. But 40 percent is
17   you tell me you have 40 percent missing and you did    17   too much for me to accept any type of a statistical
18   whatever you did to fill in the blanks, you've lost    18   method that tries to guess data because similar -- I
19   me as a clinician.                                     19   mean, again, you are guessing data and trying to
20       Q. Okay. So analyzing imputation and whether       20   fill in the blanks.
21   it can accurately fill gaps in data is beyond you?     21       Q. So at 40 percent -- it's actually --
22       A. It's like funny accounting. You can always      22       A. 37 percent.
23   make the spreadsheet look nice. So, again,             23       Q. -- 37 percent.
24   statisticians will have ways to try to figure out,     24       A. We are just saying 40 percent.
25   how can we actually remedy a flaw in a particular      25       Q. At 37 percent, you don't care what the



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 1   epidemiologists have to say about the reliability of    1   buzz word, it's a math formula and all of these
 2   imputation or what the studies say about the            2   things.
 3   reliability of the AHS imputation process. It's not     3          But at the end of the day, you are trying
 4   good enough for you; is that what -- is that a fair     4   to basically guess. It's trying to guess to try to
 5   description?                                            5   fill in the blanks of information that is missing.
 6       A. I didn't say I don't care. I said I              6   Maybe there's a math formula and all of this, but --
 7   don't -- I believe the clinical significance of any     7   but, ultimately, it is guessing.
 8   type of a study that has missing data of 37 percent     8          You don't have the primary data. That's
 9   or 40 percent is very questionable, and whatever        9   what I'm trying to say. You actually do not have
10   process you try to do as a statistician or as an       10   the data. So you try to figure out how to fill in
11   epidemiologist to remedy that is going to be           11   the blanks, so whatever method you do, it does not
12   questionable for me as a clinician because you are     12   take away from the fact that you didn't have the
13   ultimately guessing the data based on data of          13   data. Do you have the data on these 37 percent?
14   others.                                                14   No.
15          I mean, if you try to simplify to a layman      15       Q. Do you agree with Dr. Neugut? You read his
16   person, what is imputation? It's guessing. I mean,     16   deposition. Do you agree with Dr. Neugut that
17   at the end of the day, I'm not an epidemiologist or    17   imputation is a standard and valuable method for
18   a statistician, so I have to explain things to         18   dealing with unreported data in epidemiology
19   myself to understand them. Imputation of data is       19   studies?
20   you take the data that's available for other folks     20       A. I agree with that definition because that's
21   that you have data on and you try to guess data for    21   what they try to do in epidemiology study, but just
22   people you don't have data on. How rigorous is         22   recall, we are talking 37 percent that is missing
23   that? It's not rigorous.                               23   here.
24          So, again, for somebody who treats patients     24       Q. Do you agree with Dr. Neugut that that
25   and who have treated patients, that's really where I   25   level of unreported data is comparable to very

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 1   question the type of methodology that's being done      1   reliable studies that have been done and relied on
 2   to remedy the information.                              2   by clinicians in the field?
 3       Q. You understand that there's a mathematical       3       A. I can't comment on that, because I have not
 4   formula which is adjusted and tweaked based on --       4   reviewed all of that.
 5       A. I'm pretty -- I'm pretty sure.                   5       Q. Have you started seeing patients since our
 6       Q. -- based on empirical sampling of the data?      6   last deposition, sir?
 7       A. Pretty sure, a lot of math and a lot of          7       A. I'm not seeing patients now because of my
 8   squares and roots and all of these things. Like I       8   travel schedule, but I have a couple of things that
 9   said, like funny accounting.                            9   I'm exploring.
10       Q. And you understand that nobody guesses          10       Q. How long has it been since you've seen
11   anything?                                              11   patients?
12       A. There's a lot --                                12       A. Sixteen months.
13       Q. They apply a mathematical formula?              13       Q. In Exhibit 2, sir, the NCI 2018 report --
14       A. There's a lot of guessing.                      14       A. Okay.
15       Q. How do you know?                                15       Q. -- on Page 2, I'm in the second column --
16       A. In imputation, there's a lot of guessing.       16       A. Okay.
17   I mean --                                              17       Q. -- and I'm about three quarters of the way
18       Q. Sir, you just explained you don't know how      18   down the top paragraph.
19   to evaluate imputation as an epidemiologist. How do    19       A. Under "Statistical Analysis"?
20   you know there is --                                   20       Q. No, above that one.
21       A. I can evaluate as a clinician, okay? I'm        21       A. Okay.
22   not an epidemiologist, nor am I a statistician. But    22       Q. "For participants who did not complete the
23   as a clinician, as I told you, if you need to          23   follow-up questionnaire, 37 percent," do you see
24   explain what imputation to a patient or a family       24   that?
25   member or a colleague, so you can say all of this      25       A. Yeah, I see that.



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                                             Page 50                                                     Page 52
 1       Q. Okay. "For participants who did not              1   the process is. All what I need to know is you lost
 2   complete the follow-up questionnaire, 37 percent, a     2   data on 37 to 40 percent of folks.
 3   data-driven multiple imputation procedure was used      3       Q. Okay. So just once you hear that the data
 4   to impute pesticide use since enrollment."              4   has been lost on 37 to 40 percent, that's enough for
 5         Did I read that correctly?                        5   you?
 6       A. You read it correctly.                           6       A. That's more than enough, yes.
 7       Q. Do you know what "multiple imputation" is?       7       Q. And is that enough for you to discount a
 8       A. I presume it's several formulas that, you        8   study entirely and not give it any weight, sir?
 9   know, you use the second formula based on the output    9       A. As I said, the study is published. It's
10   of the first formula, and so forth.                    10   been published before, several other manuscripts
11       Q. I presume you've never done imputation          11   from the AHS have been published, as you said in the
12   yourself or reviewed or assessed imputation            12   beginning. So it doesn't mean -- again, it
13   yourself; is that right?                               13   becomes -- it's a weakness of the study, it's a flaw
14       A. That's right, I have not.                       14   of a study.
15       Q. Under "Statistical Analysis," I'm about         15         Sadly, every study has strengths and
16   nine or ten lines down, "We use Poisson regression."   16   weaknesses, and so we can't -- we can't dismiss the
17         Do you see that sentence?                        17   fact that this is a major weakness of this study. I
18       A. I see that, yes.                                18   don't dismiss it, because I don't dismiss anything
19       Q. "We use Poisson regression to calculate         19   in the body of literature, but I may -- it will make
20   incidence rate ratios and 95 percent confidence        20   me question and have issues with the conclusions of
21   intervals and Proc Mianalyze," that's a computer       21   this particular study.
22   program, "to obtain the appropriate variants for the   22       Q. It causes -- let's put it this way, sir, I
23   imputed data."                                         23   understand you said that you would approve it for
24         And then there's a Statistics Institute          24   publication --
25   citation for Proc Mianalyze.                           25       A. Uh-hum.

                                             Page 51                                                     Page 53
 1           Are you able to explain that description of     1       Q. -- and that the conclusions of the authors
 2   the imputation procedure, sir?                          2   were supported by the evidence that they provided,
 3        A. I'm unable to explain that -- that              3   and so on, you approve -- you approve of its
 4   particular procedure, no.                               4   existence. But I'm asking you something else. I'm
 5        Q. I assume you don't have a criticism of that     5   asking you about your own personal analysis that you
 6   particular procedure because you don't understand       6   made as to whether the evidence supports the
 7   it; is that fair?                                       7   conclusion that glyphosate-containing substances
 8        A. So my criticism -- let me rephrase -- which     8   cause non-Hodgkin lymphoma.
 9   was very, very clear. My criticisms are the dropout     9           And as to that analysis, your own analysis
10   and the loss of follow-up. That's -- that's what I     10   of the weight of the evidence, you've given no
11   was critiquing.                                        11   weight to this study; is that right?
12           In any study, when you don't have data on      12       A. I've given it weight that it exists, but it
13   37 percent primary data, on 37 percent of study        13   didn't change my opinion, because all what this did
14   participants, that's the biggest critique. And what    14   is it's reported an additional ten years of
15   I said, whatever process you do to remedy this,        15   follow-up for an already flawed study.
16   whether imputation or something else, I have a         16       Q. It didn't change your opinion at all;
17   problem with as a clinician. I may not know exactly    17   right?
18   what the procedure is or the process you're doing,     18       A. Of course not.
19   but you've lost me when you say 37 to 40 percent of    19       Q. Page 3 of 8, and I'm looking at the first
20   folks you lost the primary data on.                    20   full paragraph on this page, the full paragraph
21           So, yes, I applaud you for trying to remedy    21   above "Results, and here they're discussing some of
22   this, and there's probably a lot of methodology to     22   the procedures that they used to assess whether
23   do so. It does not take away from the fact that        23   imputation changed or didn't change the outcome of
24   this becomes a very weak evidence when you don't       24   their -- of the results that they reported; right?
25   have that primary data. I don't need to know what      25       A. Yes.



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                                             Page 54                                                     Page 56
 1       Q. It says, "In addition, we conducted              1       A. You -- "in primary analyses, we include
 2   sensitivity analyses to evaluate the impact of          2   exposure" -- that's what you're talking about?
 3   including additional exposure information," i.e.,       3       Q. Yeah, in that paragraph.
 4   imputation; right?                                      4       A. Yes, I see the paragraph.
 5       A. Yes.                                             5       Q. And in that paragraph they describe, again,
 6       Q. "First, we calculated risk estimates             6   all three of the sensitivity checks that they used
 7   including cancer incidence data for the complete        7   to assess the imputation procedure; right?
 8   follow-up period with only exposure information         8       A. I think they just repeat the same. I'm not
 9   collected at enrollment." Right?                        9   sure how -- I'm not sure how much in depth they
10       A. I see that, yes.                                10   describe it. They talk about conducting several
11       Q. So what that means, sir, is that they --        11   sensitivity analyses, evaluating the impact of
12   there were two questionnaires that were done in this   12   including exposure data, et cetera. So they did
13   study, and the dropout that you are criticizing        13   repeat what they said to conclude the results. I
14   happened between the first questionnaire and the       14   see that.
15   second questionnaire; right?                           15       Q. Well, they assessed the data for -- based
16       A. Yes, the first questionnaire was done at        16   just on information collected from the first
17   enrollment.                                            17   questionnaire. They assessed the data for people
18       Q. And 37 percent of people who answered the       18   who answered -- just for people who answered both
19   first questionnaire did not answer the second;         19   questionnaires, and they truncated the follow-up
20   correct?                                               20   period to 2005. Three different checks on the data;
21       A. Correct.                                        21   correct?
22       Q. So the first thing that they did to             22       A. I see that, yes.
23   check -- as a check on the imputation procedure was    23       Q. And what they reported for all three is
24   to run all the numbers and the data just with the      24   that they still found no association between
25   people who completed both questionnaires; correct?     25   glyphosate-containing substances and non-Hodgkin

                                             Page 55                                                     Page 57
 1      A. I see that.                                       1   lymphoma; correct?
 2      Q. The second thing that they did is, "We            2       A. That's what they found.
 3   examined associations excluding imputed exposure        3       Q. And all three of those sensitivity checks
 4   data, thereby limiting analyses to participants who     4   involved more data and more exposed cases than exist
 5   completed both the enrollment and follow-up             5   in the rest of the case control epidemiology,
 6   questionnaires."                                        6   correct, put together?
 7         That's the one I just described; right?           7       A. It's more than the DeRoos trial, the
 8      A. I think that's the one you just mentioned,        8   update, yes. This is more of the update.
 9   they actually calculated the data based on the folks    9       Q. I'm not talking about the DeRoos. I'm
10   who answered both.                                     10   talking about the case control studies like Eriksson
11      Q. And, "Finally, because the last exposure         11   that you rely on for your conclusion that
12   information was collected between 1999 and 2005, we    12   glyphosate-containing substances cause non-Hodgkin
13   truncated follow-up at 2005 to coincide with this      13   lymphoma?
14   exposure period." Correct?                             14       A. I rely on more than just Eriksson. I rely
15      A. Correct.                                         15   on other things. I rely on Eriksson and other
16      Q. So what they did in the last one is              16   epidemiology data and the IARC and so forth. It's
17   shortened the follow-up period to match with the       17   not just Eriksson.
18   questionnaire data that had been collected; correct?   18       Q. If you put all the epidemiology data that
19      A. Yes.                                             19   you rely on together, there are fewer exposed cases
20      Q. If you turn to Page 4, sir. I'm in               20   than for any of these sensitivity checks alone;
21   Column 1.                                              21   correct?
22      A. Okay.                                            22       A. I really have to do the math. Honestly, I
23      Q. In the long paragraph starting "in primary       23   don't know. But if somebody has done the math and
24   analyses," they describe all three of these            24   this is what you came up with, there is no reason
25   procedures that they followed; right?                  25   for me to doubt the information. But I haven't done



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 1   that math. I haven't -- I haven't done and looked       1       A. We don't -- we don't know. There's no
 2   at all of the cases that were reported in all of the    2   reason. We don't know one way or the other. That's
 3   papers I looked and compared the number of cases        3   my point about the guessing part. I mean, we are
 4   here. It's not difficult to do, but I haven't done      4   already -- just the line of questioning back and
 5   it.                                                     5   forth, it just tells us we are trying to guess what
 6       Q. Now, in doing an imputation -- in applying       6   happened.
 7   an imputation formula, sir, an imputation formula       7       Q. All three of the sensitivity analyses that
 8   would only bias results if the nonresponders, the       8   were performed in the JNCI 2018 article could
 9   people who didn't respond to the second                 9   themselves be published as a set of data that is
10   questionnaire who did respond to the first, if their   10   more powerful and robust and larger in volume than
11   exposure to glyphosate was systematically different    11   the entire body of case control studies that you
12   than the responders' exposure to glyphosate;           12   rely on; correct?
13   correct?                                               13       A. I think you -- this is -- you asked me this
14       A. I'm sorry. Can you repeat the question?         14   question before. I said I haven't done the count.
15       Q. Yes. When -- when there's a piece of            15   There's no reason for me to think it's not. If
16   missing data in an epidemiology study -- I will        16   you've done the count and you're accurate, then it's
17   start out more generally. When there is a piece of     17   probably right. I just have not counted this
18   missing data in a epidemiology study and that piece    18   myself.
19   is filled in somehow, it's only going to bias the      19       Q. So they looked at the data three different
20   results in a particular direction if the filling in    20   ways without imputation, and looking at that data
21   isn't random, doesn't contain random error.            21   all three of those ways without imputation yielded
22          Like, if you say, this person had one more      22   the same overall result, no association between
23   exposure day than he really had, and this person had   23   glyphosate-containing substances and non-Hodgkin
24   one less exposure day than he really had and you       24   lymphoma; correct?
25   make little mistakes that cancel out, it doesn't       25       A. That's what they found, yes.

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 1   affect your final result. But if you tend to make       1       Q. So with regard to those sensitivity
 2   mistakes all in the same direction, then it would       2   analyses and those conclusions that there was no
 3   tend to affect your final result; right?                3   association between glyphosate-containing substances
 4       A. Oh, I see -- I see what you're saying. I         4   and non-Hodgkin lymphoma, your imputation criticism
 5   think if the -- I see what you're saying. I think       5   doesn't apply; right?
 6   if the -- if the remedy, whatever that remedy which     6       A. How so? I'm confused how my -- again, let
 7   I think we -- I already said I'm not a big fan of       7   me just repeat. I never critiqued any of the
 8   any type of remedy when you have that high of a         8   processes that the epidemiologists or statisticians
 9   dropout. But if the remedy is random, as you are        9   do, whether it's imputation or some other fancy
10   mentioning, it hopefully should even out that you      10   terminology.
11   don't have one bias towards one direction or           11         What I critiqued was specifically the high
12   another.                                               12   dropout rate in a study that is prospective, and I
13       Q. And in order to -- that's the difference        13   said, rigorous ways of assuring proper follow-up of
14   between differential and nondifferential --            14   these folks that were enrolled should have been
15       A. Yes.                                            15   applied if you want to reach the proper answer.
16       Q. -- bias; right?                                 16   There is no reason to wait years until you get
17          To have differential bias, the probability      17   questionnaires. It could be ways of having more
18   of someone responding to the second questionnaire      18   rigorous follow-up.
19   would have to be associated with their glyphosate      19         I don't critique particular processes that
20   exposure and their health outcome; right?              20   I'm not fully familiar with or I don't apply as a
21       A. Yes.                                            21   clinician, but a dropout rate of that high is what I
22       Q. And there's no reason to suppose that           22   critiqued.
23   someone's likelihood of responding to the second       23       Q. Take a look, sir, at Page 4 of 8.
24   questionnaire is related to their exposure to          24       A. Yes.
25   glyphosate and their health outcome; correct?          25       Q. The first column.



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                                             Page 62                                                     Page 64
 1       A. Yes.                                             1   associated with non-Hodgkin lymphoma, point estimate
 2       Q. And I am -- let's go to the second batch of      2   below 1.0; correct?
 3   numbers, just to orient yourself.                       3       A. The confidence interval of 0.63 to 1.27.
 4       A. Table 2?                                         4   That's where you're reading?
 5       Q. No, sir. There are some numbers in that          5       Q. Yes.
 6   paragraph.                                              6       A. Yes, I see that.
 7       A. Okay. Sure, no problem.                          7       Q. So, again, they found the same overall
 8       Q. Confidence interval and so on. And above         8   result of no association between
 9   that they describe their first sensitivity analysis.    9   glyphosate-containing substances and non-Hodgkin
10   They say, "We conducted several sensitivity            10   lymphoma and, again, without imputation; right?
11   analyses," and then the first one they describe is,    11       A. I see that.
12   "When restricted to exposure reported at               12       Q. So your imputation criticism doesn't apply
13   enrollment," i.e., to just the data collected in the   13   to that point estimate either; right?
14   first questionnaire, "the rate ratio and the highest   14       A. Not for this one, no.
15   exposure quartile was 0.82."                           15       Q. And for the third, when they truncated the
16       A. Sorry, I don't know where he's reading.         16   follow-up period to 2005 to be concurrent with the
17   Where are you reading? Oh, the second paragraph,       17   latest exposure information, again, removing the
18   okay. I thought it's the first paragraph, okay.        18   need to do imputation, they found a relative risk
19       Q. Yes, sir. I will start over. "We                19   again spanning one with a point estimate of 1.04;
20   conducted several sensitivity analyses." That's        20   correct?
21   what we've been talking about --                       21       A. 1.04, yes, I see that.
22       A. Yes, yes.                                       22       Q. And the confidence interval was -- it was
23       Q. -- for a little while now. And the first        23   not significant; correct, sir?
24   one they describe is, "When restricted to exposure     24       A. Crosses the one, yes.
25   reported at enrollment" -- in other words, the data    25       Q. Yes.


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 1   reported in the first questionnaire; correct?           1          So, again, we have the same overall outcome
 2       A. Yes.                                             2   of no association between glyphosate-containing
 3       Q. -- "the patterns of risk were the same as        3   substances and non-Hodgkin lymphoma in this third
 4   analyses that considered glyphosate use reported at     4   way of looking at the data without imputation;
 5   enrollment and follow-up."                              5   right?
 6         So they found the same patterns without           6       A. As I said, this study has shown no
 7   imputation restricting to the first questionnaire as    7   association mirroring the conclusions from the
 8   with imputation; correct?                               8   DeRoos study in '05. I am --
 9       A. Yes.                                             9       Q. So both with and without imputation, the
10       Q. And then they gave the data for that, which     10   NCI 2018 study shows no association between
11   is a confidence interval straddling one and a point    11   glyphosate-containing substances and non-Hodgkin
12   estimate of below one for non-Hodgkin lymphoma;        12   lymphoma; right?
13   correct?                                               13       A. The NCI study shows no association,
14       A. Yes.                                            14   correct.
15       Q. And that reported data does not involve         15       Q. That's with and without imputation; right?
16   imputation; right?                                     16       A. With and without amputation -- imputation,
17       A. I don't think it does, no.                      17   sorry.
18       Q. So your criticism of imputation doesn't         18       Q. Your expert -- I'm going to go back to your
19   apply to that piece of data; right?                    19   expert report, sir, and the first of your
20       A. For this particular one, there was no           20   criticisms. We just talked at some length about the
21   imputation of the data, that's correct.                21   third of your criticisms, imputation.
22       Q. And, similarly, their second sensitivity        22          But the first criticism that you had of the
23   analysis, sir, where they limited the analysis to      23   study was that the study at its core was restricted
24   the 34,698 participants who completed both             24   to two states, North Carolina and Iowa; right?
25   questionnaires, again found glyphosate use to be not   25       A. Yes.



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                                              Page 66                                                    Page 68
 1       Q. Do you believe that whether                      1   that whether glyphosate causes non-Hodgkin's
 2   glyphosate-containing substances caused NHL,            2   lymphoma varies by region?
 3   non-Hodgkin lymphoma, varies by region?                 3       A. It's not necessarily the region. It's
 4       A. We don't know the answer to that.                4   really the practice patterns and how people utilize
 5       Q. You think that it might vary by region?          5   the compound that may vary by region. I think you
 6       A. We don't know the answer to that. What I         6   are mixing things.
 7   said is that, you know, you have a study that is        7         So I don't know how farmers in Iowa are
 8   done at two states out of so many other states. So      8   using glyphosate compared to farmers in South
 9   it's -- I recognize the -- probably the prevalence      9   Carolina or in Florida or in Arkansas. So I think
10   of farmers and so forth, and that's why probably       10   the region is not necessarily just the fact, you
11   North Carolina and Iowa were selected. But it begs     11   have a lot of issues that may vary by region. It
12   the question, does this really represent everything    12   could be the training. It could be how people use
13   else across the U.S., and I don't believe we have an   13   PPEs, could be how folks understand the compound.
14   answer to that.                                        14   That you can -- you don't know. And we really can't
15       Q. The criticism that it only -- that it's         15   control for.
16   restricted to two states, North Carolina and Iowa,     16         So practice patterns of farmers and folks
17   is a valid criticism only if, whether Roundup causes   17   and people who apply pesticides in North Carolina
18   non-Hodgkin lymphoma varies by region; is that fair?   18   and Iowa may not apply to what people do at other
19       A. It's fair. And I said I don't -- we don't       19   states. And, hence, I don't know, you know, how
20   know the answer to that.                               20   would you really make a conclusion based on the
21       Q. Okay.                                           21   study that just looks only at two states.
22       A. But I think it's -- it's, obviously, when       22       Q. Might the data from the Eriksson study in
23   you have something that is very restricted to two      23   Scandinavia be valid only in Scandinavia?
24   locations, you'll have to ask the question given the   24       A. I think you always have to look and ask
25   ubiquitous use of glyphosate across the U.S., so       25   yourself whether certain things that are done

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 1   that's really why you have to ask that question.        1   outside the U.S. apply to the U.S., if something
 2       Q. Okay. I just --                                  2   done in the U.S. that is applied to Europe. So you
 3       A. It's not --                                      3   look at the entire body of literature. And you
 4          (Unreportable cross-talk.)                       4   don't -- you can't take one study and just be
 5       A. Glyphosate is -- glyphosate is not used          5   blinded to everything else. So I -- again, it's a
 6   only in North Carolina and Iowa. So if you are          6   matter of looking at the entire body of literature,
 7   doing really a prospective study and you are looking    7   not being selective at what type of literature we
 8   prospectively as to whether substance A causes          8   look at.
 9   disease X, unless you have a reason that substance A    9       Q. Do you know of anything about the
10   is only used in this particular location, why are we   10   population that was being studied in North Carolina
11   restricting only in -- only in those two areas.        11   and Iowa that would differ from other exposures in a
12          So, again, as somebody who is trying to         12   way that would invalidate the results of this study
13   look at the entire body of evidence, I'm seeing here   13   as a general -- as reaching general conclusions
14   that there is a substance that's being used across     14   about glyphosate and non-Hodgkin's lymphoma?
15   all 50 states, but the study is only restricted to     15       A. I don't know anything specific for the
16   two. So I need an explanation why only these two       16   farmers in North Carolina and Iowa. I explained to
17   and not others.                                        17   you, hopefully, what my issue is. It's not
18       Q. The -- have you heard anyone suggest that       18   necessarily geography and so forth. It's what
19   whether glyphosate causes non-Hodgkin lymphoma         19   others do there that may not apply to folks that do
20   varies by region?                                      20   at other states, because some of this may -- again,
21       A. Have I heard anyone say that?                   21   related to training, to how you apply the pesticide,
22       Q. Yes.                                            22   to the PPEs, et cetera, but I don't know off
23       A. No, I personally have not heard anyone say      23   firsthand anything specific for the folks in those
24   that.                                                  24   two states that may be different or similar to other
25       Q. Do you know of any reason why it might be       25   states. I don't know.



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 1       Q. And you know that the AHS -- AHS refers to       1   that, please? What is the problem with the study
 2   a large group of studies that has been generated by     2   ending in 2001?
 3   an ongoing research project? You understand that,       3       A. Well, if you look at the way the study is
 4   sir?                                                    4   designed, it's really designed based on
 5       A. I do.                                            5   questionnaires with the first question -- with the
 6       Q. And you know that there are multiple             6   first questionnaire done when you actually enrolled
 7   publications from that group about the                  7   patients in ninety -- between '93 and '97, I
 8   characteristics of people in North Carolina and         8   believe, and the first questionnaire looked at prior
 9   people in Iowa and about how they controlled for        9   exposure from decades before. These -- again,
10   their exposures, their practices, their exposures to   10   something that you've been exposed to 20 years or 30
11   other substances, their time spent on the farm,        11   years ago and forth.
12   their exposure to other animals, PPE, their exposure   12          The subsequent questionnaire was done in
13   to drift, et cetera, et cetera? Have you read those    13   1999 to 2005, and if I read correctly, they actually
14   papers, sir?                                           14   asked specifically at exposure the year before, not
15       A. I have not seen all of these, no.               15   necessarily for many times or 10 years or 15 years
16       Q. Do you know whether the large body of           16   prior to that.
17   literature that's been generated about the AHS pool    17          So the -- the pattern, you know, how can
18   of data suggests any flaws in relying on data from     18   you control to how folks were exposed prospectively
19   two states, North Carolina and Iowa?                   19   to this substance? It's not really a constant. The
20       A. Not firsthand. I tried to explain, again,       20   use of glyphosate has changed over the years. It
21   you know, the issue that I have with this particular   21   has increased significantly in the late '90s and
22   comment. I think it's pretty clear --                  22   early 2000 and so forth. So there's really
23       Q. Okay.                                           23   incremental use of the compound over these years,
24       A. -- what I said.                                 24   and this incremental use and changes in the way
25       Q. So you're flagging it as a possible             25   people have been exposed to it is actually not

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 1   weakness in the study without knowing of anything       1   factored in how the questionnaire is addressing
 2   specific that bears out those concerns; is that         2   this.
 3   fair?                                                   3         So it's not constant. Everything is
 4       A. Of course, I don't have anything                 4   actually changing, but you're really asking question
 5   specific --                                             5   only for the year before -- and you are doing this
 6           MR. LITZENBURG: Object to form.                 6   before the incremental -- the significant increase
 7       A. -- but this is something that you --             7   in use of glyphosate.
 8   it's -- it's glaring at you as a peer reviewer, as      8      Q. What's your understanding of when that
 9   somebody who is looking at this, and it's hard to       9   significant bulge in use occurred?
10   dismiss without trying to ask these questions.         10      A. A lot has happened in the early 2000s in
11   BY MR. GRIFFIS:                                        11   terms of the increase in use.
12       Q. You don't know if it's been addressed by,       12      Q. Okay. So your understanding --
13   for example, the statistical controls that were        13      A. So basically you're stopping -- you know,
14   applied to other factors and other exposures?          14   you're stopping to look at what happened in terms of
15       A. I have not seen --                              15   exposure literally around almost the same time where
16           MR. LITZENBURG: Object to form.                16   people are using -- are using it more.
17       A. -- the particular remedy to these issues.       17      Q. So 2000 -- the 2001 cutoff is right when
18   BY MR. GRIFFIS:                                        18   the bulge began; is that your view?
19       Q. Now, you said second, the second flaw that      19      A. Well, there is no such a thing as right
20   you identified in the study is that you said the       20   where the bulge began. I think the early 2000s is
21   study essentially ended in 2001, not accounting for    21   as accurate as you can get.
22   the more expanded and increased use of glyphosate      22      Q. Okay.
23   after that year; correct?                              23      A. I mean, you can't say May 2000 versus
24       A. Yes.                                            24   July 2001. Early 2000s where you -- late '90s and
25       Q. So would you -- would you elaborate on          25   early 2000s are where you really have seen



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 1   significant increase in the use of glyphosate across    1         MR. GRIFFIS: Let's take it now.
 2   the country and in the world, and somehow you           2         THE WITNESS: I'm okay. I'm just trying to
 3   really -- your follow-up falls short of that in         3      base my --
 4   2001. And even the questionnaire is actually asking     4         MR. GRIFFIS: Remind in ten minutes. We'll
 5   only exposure just one year before.                     5      do it.
 6           So if you had -- if you had a lot of            6         THE WITNESS: -- need for the bathroom.
 7   exposure -- if you are asking somebody, you know, at    7      That's all.
 8   a particular year, what was the exposure the year       8   BY MR. GRIFFIS:
 9   before, and they answer no, it doesn't account for      9      Q. Take Exhibit 2, sir, the 2018 NCI study,
10   the exposure from three years before. It's --          10   and tell me where it says that the study essentially
11   it's -- the way the questions are being asked is --    11   ended in 2001.
12   completely would miss the point of significant high    12      A. It's not the -- it's not ended. It's
13   exposure for some patients -- for some individuals,    13   the -- the follow-up continues.
14   not patients.                                          14      Q. Okay. I'm -- when I said "essentially
15        Q. So I understand that there's not a             15   ended," I'm just quoting you from your --
16   particular month that you point to as suddenly a       16      A. Yeah.
17   bulge occurs, but 2001, that was an important year.    17      Q. -- supplemental expert report.
18   2002 was an important year, 2003? Is that what         18      A. No, I think the follow-up -- the follow-up
19   you're telling us?                                     19   continues. And, again, I believe there would be
20        A. I said the early 2000s.                        20   additional follow-ups and future publications from
21        Q. Okay. And what's your basis for that, sir?     21   the AHS study. This is not going to be the last
22        A. It's my research. When you look -- I mean,     22   one.
23   again, a lot of this information, when you look to     23      Q. Okay.
24   when the use of glyphosate and take a look on the      24      A. The follow -- I mean, you know --
25   worldwide web and try to understand when it's being    25      Q. Show me -- show me what you see in this

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 1   used, it's -- lots of this is public information.       1   study that made you say, "Second, the study
 2       Q. What resource did you rely on for this?          2   essentially ended in 2001," in your supplemental
 3       A. The worldwide web and what's going on in         3   expert report.
 4   the literature and -- and the information that's        4       A. Yeah, I'll have to go in the -- I think on
 5   been there in terms of when the use of                  5   the NIH website and look at the AHS.
 6   glyphosate-containing compounds have increased.         6         Can I take a look at that? Can I look at
 7       Q. So you did a Google search and looked at         7   the -- that's where I found it.
 8   one of the --                                           8       Q. You may. I don't know how exactly.
 9       A. One of the searches --                           9       A. That's fine. That's fine. I'll look at
10       Q. -- links?                                       10   it.
11       A. One of the searches was Google searches,        11       Q. You didn't get that from this -- I mean,
12   and there is also some literature that I looked at.    12   you told me what you looked at to get ready to
13   And the previous deposition, but I wasn't sure -- I    13   generate your expert report.
14   didn't bring it with me. I didn't think we were        14       A. I understand.
15   going to discuss that today.                           15       Q. And it didn't include that website. It was
16       Q. This is literature that you have provided       16   this paper. So I presumed you got it from this
17   to us, sir?                                            17   paper.
18       A. That is something that you have asked me        18       A. I'll get back to this. I'll look at it at
19   about in the deposition that we had before.            19   the break, if that's okay. It's -- I don't want to
20       Q. Is it literature that you have provided to      20   read the entire paper right now and take about 10 or
21   us, sir?                                               21   15 minutes.
22       A. I provide you with everything that I looked     22       Q. Is it -- is it the statement in the
23   at, yes.                                               23   background, follow-up through 2001 in the abstract?
24          THE WITNESS: Can I take, like, a                24       A. Follow-up through 2001. No, I think this
25       five-minute break in about ten minutes?            25   was probably the older follow-up. This one is 2005.



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 1   I'll have to make sure that this was -- was it a        1   glyphosate bulge in the early 2000s that you were
 2   typo I said 2005 or 2001? Is it okay if I table         2   describing; right?
 3   this and just get back to you after the break?          3      A. They have collected data during some of
 4        Q. Okay.                                           4   this bulge, yes.
 5        A. I want to make sure I answer it for you.        5      Q. And do you know what impact it would have
 6           MR. GRIFFIS: Okay. Why don't we take a          6   on the data to misallocate people's exposures based
 7        break then.                                        7   on increased glyphosate use later when you don't
 8           THE WITNESS: Okay.                              8   know whether someone is going to end up in the group
 9           VIDEOGRAPHER: Ending disc number one of         9   of people who develop non-Hodgkin's lymphoma or not?
10        the deposition of Dr. Chadi Nabhan. We are off    10      A. I'm not sure I understand the question. If
11        the record at 10:17 A.M.                          11   you don't mind just --
12           (Recess taken from 10:17 A.M. to               12      Q. Yes, sir. It's an epidemio- --
13        10:26 A.M.)                                       13      A. -- simplifying it or --
14           VIDEOGRAPHER: And beginning disc number        14      Q. It's an epidemiology question.
15        two of the deposition of Dr. Chadi Nabhan. We     15      A. Okay. Go ahead.
16        are back on the record at 10:26 A.M.              16      Q. You have a questionnaire that runs through
17   BY MR. GRIFFIS:                                        17   2005, collecting data on exposures through 2005, and
18        Q. Okay. Sir, you were going to look              18   you're suggesting the possibility that people's
19   something up for me, the basis for your opinion        19   exposures could shift after that date because of
20   that -- let me quote it correctly -- the basis for     20   changes in glyphosate use.
21   your opinion that the study, the NCI 2018 study        21      A. I mean, it always could shift throughout,
22   essential ended in 2001.                               22   right, yes.
23        A. So, again, I didn't -- when I say "ended,"     23      Q. But if it shifts in a way that's the same
24   as I clarified earlier, the study is continuing, and   24   for the group of people who end up developing
25   as I said, you will have additional publications       25   non-Hodgkin's lymphoma, as it does for the group of


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 1   coming out, and the JNCI paper will not, in my          1   people who don't end of developing non-Hodgkin's
 2   opinion, be the last paper that comes from the AHS,     2   lymphoma, then it would not alter the
 3   because it is ongoing.                                  3   epidemiological results; correct?
 4         I think what I meant by "ended" is that           4       A. If the shift is similar, it probably would
 5   the -- when you look at the original paper, the         5   have less likelihood to alter the epidemiology
 6   DeRoos paper, when it's -- when it was originally       6   results.
 7   published, they looked at -- I think the follow-up      7       Q. Do you know of any reason that the
 8   at that time was until 2001.                            8   likelihood of someone using glyphosate in the future
 9         The follow-up of this study is until 2005         9   but not during the time of questionnaire two would
10   and the original questionnaire between 1993 to 1997    10   be associated with whether or not they develop
11   was probably the only questionnaire that was filled    11   non-Hodgkin's lymphoma later?
12   by most -- by most participants.                       12       A. Well, it's a matter -- it's -- the
13         The 2001 here would more accurately              13   fundamental issue here is how you are going to
14   reflected as 2005, because that's really the           14   answer the questionnaire between 1999 and 2005.
15   follow-up of this particular study, as opposed to      15   That's really the fundamental question.
16   2001.                                                  16          And I think, given the fact that you can't
17       Q. And 2001 is incorrect, it reflects the --       17   control how people are answering the questions,
18       A. The DeRoos paper.                               18   there's a lot of recall bias in answering these
19       Q. -- the follow-up date from the DeRoos 2005      19   questions, and you're really answering the questions
20   paper and not the NCI 2018 paper?                      20   only for just the immediate past before answering.
21       A. That's correct.                                 21   You're not answering for several years prior to
22       Q. The NCI 2018 paper, second questionnaire,       22   that.
23   went through 2005; right?                              23          So it's just how you answer the questions.
24       A. Yes.                                            24   It's very possible that some folks might answer
25       Q. So they were collecting data well into the      25   differently based on what they are doing, if they



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 1   have been -- if somebody is using a lot of other        1   study caused by the fact that people who are
 2   pesticides, not necessarily glyphosate, they may        2   recalling -- one group of people who are recalling
 3   assume that they are using also glyphosate versus       3   are in a different situation than another group of
 4   somebody who is not using anything.                     4   people who are recalling, the classic example of
 5          So I think that's really the issue. It's         5   which is that when you are in a case-control study,
 6   not about -- the follow-up is one possibility, but      6   people who have an illness that they believe may be
 7   also the way folks answer the questions is              7   associated with an exposure are much more likely to
 8   inherently depending on some other biases that are      8   recall those exposures --
 9   present in them. So it's answering the questions        9       A. That's correct.
10   that's really fundamentally issue -- fundamental       10       Q. -- than people who are just going about
11   issue here.                                            11   their lives without suffering from any particular
12       Q. It sounds like you have identified a new        12   malady.
13   potential flaw in this NCI 2018 study that isn't in    13       A. That is one way of recall bias, absolutely.
14   your expert report, that people might fill out the     14   So if you have a disease -- you know, if you have a
15   questionnaires inconsistently?                         15   disease in 2010 and you're being asked to remember
16       A. It's the recall bias, which is something we     16   if you got exposed to something, you are more likely
17   discussed about with the DeRoos study. It's -- it's    17   to remember that versus somebody who did not have
18   inherent in -- in most of these trial -- most of       18   the disease. That is one way.
19   these type of studies. It's difficult to -- to         19          And another way, in my opinion, is also
20   remedy, except, frankly, the only way to remedy        20   trying to recall everything that actually has --
21   something like this is by having more frequent         21   have happened in the past that you may not remember.
22   questionnaires and just trying to either just          22       Q. The type of recall bias that I described is
23   have -- it requires a lot of resources to ask people   23   inherent to the same case-control studies that you
24   to fill a lot of these questionnaires more             24   rely on --
25   consistently. But that's -- that's something that      25       A. Yes.


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 1   was present in DeRoos, still present here, because      1       Q. -- for your conclusions; right?
 2   it's the same study. We talked about it before.         2       A. I understand that.
 3       Q. Can you explain what "recall bias" means to      3       Q. In those case-control studies, like
 4   an epidemiologist?                                      4   Eriksson, et cetera --
 5       A. You mean to a layman person?                     5       A. Uh-hum.
 6       Q. Tell me your definition of "recall bias."        6       Q. -- in those case-control studies, people
 7       A. Well, you know, if you are being asked           7   were asked about their exposures after they already
 8   to -- to answer a question that -- about something      8   had non-Hodgkin's lymphoma, and they would have been
 9   that happened in the past, you may not have the most    9   incentivized to remember better than the healthy
10   robust memory to remember all of the details of what   10   people, the healthy controls who were asked to
11   happened a year before or even ten years before to     11   recall their exposure?
12   provide the proper answers.                            12       A. In any case -- I think in any case-control
13          If I asked you what you had for dinner ten      13   studies, you will always have that possibility. I
14   days ago, you may not be able to answer that           14   think we know that people who have a disease are
15   accurately, but your answer might be dependent on      15   more likely to remember something that has happened
16   what you had dinner yesterday, and you may assume      16   to them versus healthy volunteers. I think that's
17   that this is very similar.                             17   an inherent limitation to case-control studies.
18          So recall bias is basically not having the      18       Q. Yes, sir.
19   precise answer. You're dependent on your memory to     19         And cohort studies, like the NCI 2018 and
20   answer a question, and you may be correct some of      20   the DeRoos 2005, don't have that particular problem
21   the times, and you may be wrong other times.           21   because people are asked about their exposures
22       Q. Okay. I'm going to suggest to you, sir,         22   before they develop any illness; correct?
23   that that's wrong. Tell me if this rings a bell.       23       A. In the beginning, yes, but, again, in
24       A. Go ahead.                                       24   subsequent -- in this cohort study, you have
25       Q. Recall bias is a differential bias in a         25   subsequent questionnaires to see what happens in



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 1   that duration. And you're not accounting for that       1   AHS that doesn't have that limitation. So I was
 2   gap between questionnaire A and questionnaire B as      2   describing to you the issue with the AHS that is
 3   to what happened in terms of pattern of exposure to     3   different -- it's not a case control, but it has a
 4   these individuals.                                      4   different limitation as a cohort study.
 5          So, yes, in a cohort study that you are          5       Q. That's a totally different issue than
 6   looking at prospectively, you ask the individuals       6   recall bias; right?
 7   who are participating a priori, you ask them before     7          MR. LITZENBURG: Object to form.
 8   it, what happened, and then you follow them             8       A. Okay. Well, we can talk about recall bias
 9   prospectively. But in order for you to get proper       9   if you want.
10   conclusion, all of other factors for these             10   BY MR. GRIFFIS:
11   individuals have to be stable and constant. So         11       Q. Let's finish talking about recall bias.
12   nothing really is changing to get these meaningful     12   The other thing that you called "recall bias" --
13   conclusions.                                           13       A. You are the one who moved to the other one.
14          And that's a big problem for epidemiology       14       Q. The other thing that you called "recall
15   study where you have a lot of exposures and external   15   bias," sir, was people not remembering correctly
16   factors because you can't really account for these     16   when they are given a questionnaire; right?
17   additional factors that folks are exposed to. And      17       A. Well, I think that's important when I talk
18   in this situation you can't really tell somebody       18   to a layman -- when I talk to a patient and I talk
19   that, now we ask you this question, no more exposure   19   to -- and I asked you, actually, whether we are
20   to glyphosate whatsoever until we talk to you in ten   20   describing to this a layman term. When I talk to a
21   years from now. You can't control to that,             21   patient and I see a patient and I say, you know,
22   especially in pesticide applicators and farmers.       22   have you been exposed to X, Y, and Z, from a patient
23          That's the big limitation when you are          23   perspective, they need to tell me based on their
24   talking to this cohort study, because you are unable   24   memory and their recollection.
25   to tell these cohort of individuals that you are       25          When they fill a questionnaire, when they

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 1   studying that, from now on, after you've answered       1   come to the clinic and they are trying to fill a
 2   this question, no incremental exposure is allowed,      2   questionnaire about their past history or past
 3   and I'm going to follow you and see whether your        3   occupational hazard or past exposure, they rely on
 4   prior exposure has led to disease or not.               4   their memory. From a patient perspective, that's
 5         And that's not what happened in the AHS.          5   actually a recall. And if they don't really
 6   I'm not sure how you can do it, frankly. It's not       6   remember appropriately, then it might be an issue.
 7   really an issue that you can do practically. It         7      Q. Just not remembering well is an issue for
 8   requires a lot of money and resources. So it's          8   questionnaires asked in case-control and cohort
 9   really very difficult.                                  9   studies; right?
10         But if you want to talk science, that's the      10      A. Absolutely.
11   only way in a cohort study that you do it. At some     11      Q. Have you read the literature in which the
12   point in time, so in 1997 after you ask the first      12   AHS questionnaires were validated against objective
13   questionnaire, these individuals that answered the     13   data to test how accurate the recall of those
14   1993 to 1997 questionnaire, that's it, no more         14   pesticide applicators was about the pesticides that
15   exposure to anything after 1997. And now in 2018,      15   they applied?
16   20 years later, you go and see, based on your prior    16      A. I have not seen that literature. I would
17   exposure, prior to 1997, what happened to you.         17   probably look it up.
18         But we all know in this room between 1997        18      Q. Now, on the new issue that I believe you
19   and 2005 a lot of things changed for these             19   were identifying a moment ago that people's
20   individuals, and that's the problem.                   20   exposures will not be -- remain fixed in between
21      Q. I want to get back to recall bias, because       21   questionnaires and so could vary from what they
22   that wasn't about recall bias.                         22   reported at the time of the questionnaires, do you
23      A. But that answer --                               23   understand that the authors of the NCI 2018 paper
24      Q. The other thing with recall bias --              24   took steps to adjust for and correct for that, sir?
25      A. -- I was answering your comment about the        25      A. I think we -- together we read a lot of the



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 1   statistical and sensitivity analysis that they did      1       Q. Now, I take it that at least part of the
 2   and so forth, and I think you have to try to adjust     2   reason that you think that's a problem is because
 3   for it. It just doesn't take away from the              3   of, people might not recall correctly?
 4   limitation of it. I mean, and, again, this is not       4       A. Yes. That's what we talked about.
 5   just an AHS specific limitation. This is really any     5       Q. Is that right?
 6   prospective cohort limitation.                          6         Okay. Is there anything else about it
 7      Q. And like some of the other biases that            7   other than that people might not recall correctly?
 8   we've been discussing today, it would only affect       8       A. No.
 9   the results if people's exposures after filling out     9       Q. And all of the epidemiology studies that
10   the questionnaire were correlated with the             10   you rely on for your opinion that
11   particular -- a particular health outcome and not a    11   glyphosate-containing substances can cause
12   different particular health outcome?                   12   non-Hodgkin's lymphoma, involved self-reporting;
13      A. Yes, of course. I mean, if it changed in a       13   right?
14   way that affects the health outcome and so forth,      14       A. Yes.
15   but -- but, again, as I said, this is not a            15       Q. So to the extent that that's a flaw in the
16   limitation just for the AHS study. This is a           16   NCI 2018 study, it's also a flaw in those studies;
17   limitation for a lot of these epidemiologic            17   right?
18   prospective cohort studies because you follow these    18       A. I think it's a flaw for most of the
19   individuals prospectively asking one question, but     19   epidemiology studies. It's very difficult to have
20   you are unable to stop that additional exposure from   20   an epidemiologic study without problems with
21   happening moving forward. It's impossible, given       21   self-reporting. That's the field of epidemiology.
22   the fact that these are farmers and pesticide          22         MR. GRIFFIS: Exhibit 4.
23   applicators. That's what they do.                      23         (Exhibit 29-4 marked for identification.)
24      Q. Do you know -- never mind that question.         24   BY MR. GRIFFIS:
25          Do you know the difference between              25       Q. Sir, I've marked as Exhibit 4 the IARC

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 1   differential bias and nondifferential bias, sir?        1   Working Group 122 -- 112, rather, Monograph on
 2       A. I think you just described it to me. The         2   Malathion.
 3   nondifferential, again, is if you -- if it's not        3         MR. LITZENBURG: He's not answering any
 4   going to affect the health outcome and the bias is      4       questions about that.
 5   almost equally distributed, then that's                 5       A. Why are we talking about malathion?
 6   nondifferential bias.                                   6   BY MR. GRIFFIS:
 7       Q. And people who are doing cohort studies          7       Q. Sir, you understand that the IARC Working
 8   have ways to assess whether they have differential      8   Group 112, when it did its analysis of glyphosate
 9   biases and control for those; correct?                  9   that you relied on in part for your conclusions,
10       A. I think there are lots of statistical           10   also did analyses of some other pesticides,
11   methods in an attempt to control for some of these     11   including malathion?
12   things, yes.                                           12       A. I understand that they looked at other
13       Q. And do you know which ones were used in the     13   compounds as well as glyphosate, yes.
14   NCI 2018 study?                                        14       Q. And did you understand that they put some
15       A. They --                                         15   of their global analyses into the malathion
16       Q. How effective they were?                        16   monograph and said so in their overview publications
17       A. They did the sensitivity analysis that we       17   rather than repeating them over and over again in
18   talked about. They also looked at some of the          18   each monograph?
19   patients that answered only both questionnaires in     19         MR. LITZENBURG: You don't have to answer
20   an attempt to get the information only from the        20       any questions about this, especially if you
21   folks who answered the questions.                      21       haven't read it.
22       Q. The fourth weakness that you -- the flaw        22       A. I really don't remember.
23   you identified in the NCI 2018 study is that it        23   BY MR. GRIFFIS:
24   relied on self-reporting; correct?                     24       Q. Turn to Page 9, sir.
25       A. Yes.                                            25       A. This is a 124-page document I haven't read



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 1   before.                                                 1   Epidemiological Body of Data."
 2      Q. Yes, sir.                                         2       A. Okay. I see that.
 3         Turn to Page 9 where they discuss the             3       Q. "All of the studies" -- I'm in the second
 4   Agricultural Health Study.                              4   paragraph, "All of the studies addressed historical
 5      A. Sure.                                             5   exposure to pesticides. Therefore, the use of
 6      Q. Do you see that they said, "Great efforts         6   biomarkers or monitoring data was not feasible at
 7   were made in the Agricultural Health Study to assess    7   the individual subject level. Almost all of the
 8   exposure among agricultural pesticide applicators       8   studies relied on self-reported data which, as
 9   and their spouses. These questionnaires and             9   discussed above, is reasonably reliable and valid
10   algorithms have been extensively described and have    10   when applicators were reporting their own use, but
11   undergone several tests for reliability and accuracy   11   may not be suitable for spouses or other farm
12   that have provided considerable insight into the       12   workers, particularly those exposed by reentry."
13   quality of this exposure assessment"?                  13         Do you see that, sir?
14      A. I read that.                                     14       A. I see that.
15      Q. Do you disagree with IARC's assessment           15       Q. And you agree with me that pretty much all
16   there, sir?                                            16   of the epidemiology studies that we have discussed
17         MR. LITZENBURG: Object to form.                  17   together at any time concerning glyphosate and
18         THE WITNESS: Sorry.                              18   non-Hodgkin's lymphoma rely on self-reported data;
19         MR. LITZENBURG: I was just objecting again       19   right?
20      to a document that had nothing to do with the       20       A. Yes, it does.
21      topic at hand.                                      21       Q. Do you agree with the IARC that such data
22      A. I don't necessarily disagree, but I have         22   is reasonably reliable and valid when applicators
23   not seen what type of these tests that were -- that    23   were reporting their own use but might not be
24   were applied, and that particular paragraph is not     24   suitable for others, as described here?
25   referenced. There is no reference. But I'm             25       A. I mean, for the most part, yeah. I mean,

                                             Page 95                                                     Page 97
 1   assuming they are going to expand on this in            1   to the extent possible, you probably would remember
 2   subsequent paragraphs.                                  2   more than the spouses would remember, but I think
 3   BY MR. GRIFFIS:                                         3   there were still some limitations that we talked
 4       Q. Yes --                                           4   about.
 5       A. So I have no reason to doubt this                5       Q. Okay. In the case of the NCI 2018 data,
 6   statement.                                              6   that would be applicators reporting their own use;
 7       Q. Okay. Well, you do know, because we              7   right?
 8   discussed it, that there are -- there were internal     8       A. That's correct.
 9   checks, the sensitivity analyses that were described    9       Q. The next -- the top of the next column, it
10   within the NCI 2018 paper; correct?                    10   says, "Apart from the AHS," that's the dataset from
11       A. Yes.                                            11   which NCI 2018 is drawn, "Apart from the AHS, few of
12       Q. And you also know that there are a large        12   the studies included expert review of the data or
13   body, or a body anyway, of separate articles testing   13   performed validity or reliability studies." Right?
14   various aspects of the AHS model, their algorithms,    14       A. I read that.
15   their exposure assessments, et cetera, and that's a    15       Q. Do you know if any of the epidemiology
16   body of literature that you have seen referenced       16   studies that you rely on that included expert review
17   from time to time but haven't yourself read; is that   17   of the data were validity or reliability studies?
18   right?                                                 18       A. I think the IARC, the IARC has done an
19       A. I have not read, yes, correct.                  19   extensive work and they had working groups and they
20       Q. Okay.                                           20   looked at the body of literature and genotoxicity
21       A. But I have seen it referenced.                  21   and everything to come up with the conclusion.
22       Q. On Page 11, sir, do you see at the bottom       22       Q. Okay. What they are talking about -- what
23   of the first column, this is a section entitled        23   the IARC is talking about here is not themselves,
24   "Other Epidemiologic Studies," B, "Other               24   because this was something that hadn't been
25   Epidemiological Studies." A was "The AHS               25   published yet, but the epidemiology studies; right?



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                                             Page 98                                                   Page 100
 1   That's what the header says there.                     1   paragraph stub, but the first full paragraph there,
 2          MR. LITZENBURG: You are not suggesting          2   about right in the middle of it, there's a sentence
 3       this is about glyphosate; right? We are still      3   that says "methodological studies."
 4       looking at the malathion document.                 4       A. Yep, I see it.
 5          MR. GRIFFIS: Sir, this is about                 5       Q. Okay. "Methodological studies were
 6       everything.                                        6   completed to assess the reliability and validity of
 7          MR. LITZENBURG: You are suggesting this is      7   the pesticide information provided by the
 8       about glyphosate?                                  8   applicators." Again, we are talking about the AHS
 9          MR. GRIFFIS: Yes. The malathion was where       9   data, and they cite a couple of them there. Do you
10       they collected general conclusions and general    10   see that, sir?
11       analyses information.                             11       A. I see that.
12          MR. LITZENBURG: So your suggestion when it     12       Q. So these are some of the outside studies,
13       says "other epidemiological studies," that's      13   not contained internally to NCI 2018, but some of
14       referring to glyphosate? In this Exhibit 4?       14   the outside studies that supported the data
15          MR. GRIFFIS: I've given you my answer.         15   analyses; right?
16       I'm not going to discuss it further with you.     16       A. I -- you know, I have to read the entire
17          MR. LITZENBURG: Okay. Again, object, and       17   124 -- I can't -- you can't just give me one small,
18       you don't have to answer any questions about      18   little three lines in one page in a document I
19       malathion or IARC's assessment of it.             19   haven't read and expect me to comment. I have no
20   BY MR. GRIFFIS:                                       20   comment on that.
21       Q. I won't ask you a single question about        21       Q. The imputation method for the AHS is
22   malathion, apart from the AHS. So do you know if      22   discussed at the bottom of Page 21; right?
23   any of the epidemiology studies that you relied on,   23       A. I see the word "imputation method," yes.
24   sir, any of the epidemiology studies that included    24       Q. And at the very end of this section, sir,
25   expert review of the data or included validity or     25   it says, "The working group considered the AHS to be

                                             Page 99                                                   Page 101
 1   reliability studies in support of themselves?          1   a highly informative study." Right?
 2       A. I am not aware of -- of the expert's review     2      A. Yes, it's highly informative.
 3   or reliability studies, but have not looked            3      Q. And you agree with them?
 4   specifically at that. And, again, this document        4      A. It is informative, yes.
 5   that you provided looks like it's discussing           5      Q. Do you agree with them that it's highly
 6   specifically malathion, to my -- at least that's       6   informative?
 7   what it says, unless I'm confused. The entire          7      A. It is informative. I've answered that.
 8   document is malathion.                                 8      Q. Okay. Do you disagree that it's highly
 9         MR. LITZENBURG: Do you have any more             9   informative?
10       questions about Andreotti? Otherwise, I would     10      A. It is informative.
11       say we ought to just shut it down.                11      Q. Is it not highly informative?
12         MR. GRIFFIS: These are questions about          12      A. Define "highly informative" to me.
13       Andreotti.                                        13      Q. You have --
14   BY MR. GRIFFIS:                                       14      A. What's the difference between informative
15       Q. On Page 21, sir -- this is the last page       15   and highly informative?
16   I'm going to direct you to in this document -- in     16      Q. Well, you wouldn't go along with "highly
17   the left-hand column, the first column, in the        17   informative," sir, so what is the difference to you?
18   middle, I'm at a sentence starting "methodological    18      A. Just -- to me, informative is the proper
19   studies were completed."                              19   way of saying something informative. I don't like
20         Do you see that?                                20   using superlatives.
21       A. One second.                                    21      Q. Do you understand, sir, that IARC
22       Q. Sure.                                          22   classifies the evidence that they rely on, including
23       A. In the left column, you said?                  23   into the category of highly informative?
24       Q. Left column, that -- in the first paragraph    24      A. I do.
25   there, in the first -- well, not the -- not the       25      Q. Did you review the IARC -- the preamble to



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                                            Page 102                                                    Page 104
 1   the IARC Monograph, sir?                                1   in the highest category?
 2       A. You are talking the monograph that we            2       A. I think that, frankly, would have more
 3   discussed last deposition?                              3   weight in my mind just -- well, more weight, in
 4       Q. Yeah, and I'm not talking about the one          4   essence, that it was the first time it was reported
 5   labeled "Glyphosate," but the preamble that applies     5   in a peer-reviewed literature. This one has the
 6   to every monograph that they do.                        6   more weight, it has more cases, and it's longer
 7       A. I have reviewed the one that we discussed        7   follow-up. But the first time you report ever on a
 8   at the last deposition. I didn't review it for          8   particular study is really when people are more
 9   today, but I reviewed it for the last deposition.       9   interested in trying to understand what's the output
10       Q. Okay. Do you recall classification of --        10   of that -- of that particular research.
11       A. It was classified --                            11       Q. So DeRoos 2005 would be in your top
12       Q. -- things into various -- no. Do you            12   category because it's first?
13   recall classification of pieces of evidence into       13       A. Because it's the first time, but this one
14   categories --                                          14   has, again, longer follow-up as well as more cases,
15       A. Yes.                                            15   so you can't really dismiss that. It's very
16       Q. -- as to informativeness?                       16   important.
17       A. Yes.                                            17       Q. The last flaw that you identified in your
18       Q. And that highly informative is their top        18   supplemental expert report is -- and we agreed that
19   category?                                              19   it wasn't a flaw so much as a point that you were
20       A. I -- I -- you asked me. I said I don't          20   making.
21   usually -- I mean, we have a lot -- in the             21       A. Yes.
22   literature, sometimes you have to divide the           22       Q. -- that there was an increased risk of
23   evidence based on certain categories based on          23   multiple myeloma with glyphosate exposure?
24   highly, less, and so forth. You asked my opinion,      24       A. And acute leukemia that the authors talk
25   did I -- personally, Chadi Nabhan does not like to     25   about.

                                            Page 103                                                    Page 105
 1   use superlatives. That's all.                           1       Q. Would you show me where the increased risk
 2       Q. Right. So --                                     2   of multiple myeloma in that statement is?
 3       A. That's all I said.                               3       A. I think the authors talked about two
 4       Q. And I'm trying to help you not need to.          4   diseases. One is acute myeloid leukemia, and one is
 5   I'm just reminding you about this fact about IARC,      5   multiple myeloma. I will try to research that for
 6   that they do use that superlative for their highest     6   you.
 7   level of evidence that they rely on.                    7          So I think under -- in Page 3/8 under the
 8       A. I'm aware.                                       8   results, they go over the various type of diseases
 9       Q. So would you -- without using the word           9   that they actually have, and they talk about -- let
10   "highly," would you put the NCI 2018 study into your   10   me just read that for you. One second. Where is
11   top category, your most influential category, as a     11   the -- I think they add -- they add non-Hodgkin
12   piece of evidence like IARC did?                       12   lymphoma -- there was also no evidence for
13       A. So, personally, I would not, because it's a     13   association with NHL or any NHL subtypes, the rate
14   follow-up study to a previously reported study. I      14   ratio in the top exposure quartile was 0.87 for NHL
15   mean, I think I've said that probably about ten        15   and 0.87 for myeloma.
16   times so far. This is a follow-up study with longer    16          And then the association for NHL was not
17   follow-up on a previously reported study.              17   meaningfully changed where multiple myeloma was
18         So it's hard for me to put this at the           18   excluded, and then they talk about acute myeloid
19   highest evidence. It's not reporting any new           19   leukemia. They do acknowledge it was not
20   evidence. It's not a new study. It doesn't really      20   statistically significant, but they observed an
21   add anything except giving me additional years of      21   increased risk of acute myeloid leukemia among
22   follow-up and additional cases. So I'm not really      22   applicators in the highest quartile of
23   sure why I would give it the highest category          23   intensity-weighted glyphosate use compared to never
24   possible.                                              24   users.
25       Q. What about DeRoos 2005? Would you put that      25       Q. So there was not an increased risk of



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                                           Page 106                                                   Page 108
 1   multiple myeloma with glyphosate --                    1       A. Yes.
 2       A. It's acute myeloid leukemia.                    2       Q. And for four quartiles it shows the point
 3       Q. Okay. You were wrong about the multiple         3   estimates and confidence intervals, for quartiles 1
 4   myeloma in the NCI 2018?                               4   through 3, their point estimates are below 1, and
 5       A. I think I meant to said "acute myeloid          5   it's exactly 1 for the fourth quartile, and all of
 6   leukemia." I'm sorry.                                  6   it is not significant; right?
 7       Q. Okay. Do you claim that glyphosate causes       7       A. That's correct.
 8   acute myeloid leukemia?                                8       Q. And the similar pattern of spanning the
 9       A. No, I don't think you can claim that. I         9   confidence interval and showing no significant
10   think you could say -- you could say that there was   10   association with most of the point estimates being
11   a trend for increased acute myeloid leukemia,         11   below 1.0 applies to Hodgkin lymphoma, non-Hodgkin
12   although that trend was not statistically             12   lymphoma in general, B-cell non-Hodgkin lymphoma,
13   significant. So it's -- I think additional studies    13   chronic lymphocytic lymphoma, diffuse large B-cell
14   might be needed just to better understand whether     14   lymphoma, marginal-zone lymphoma, follicular
15   there is really increases for acute myeloid           15   lymphoma, and multiple myeloma; right?
16   leukemia, but this -- the NCI study is not            16       A. Yes.
17   conclusive about the association between glyphosate   17       Q. The non-Hodgkin lymphoma T-cell is also not
18   and acute myeloid leukemia.                           18   significant with a P trend of .31, although there
19       Q. On Table 2, sir --                             19   the point estimates are -- vary from the previous
20       A. Of -- of the study?                            20   set, they are above 1; right?
21       Q. Of Exhibit 2, yes, the NCI 2018.               21       A. Say again the last.
22       A. Okay.                                          22       Q. Yes.
23       Q. Table 2 is one of the tables giving the        23          The non-Hodgkin lymphoma T-cell --
24   results in numerical form; correct?                   24       A. Uh-huh.
25       A. I see that, yeah.                              25       Q. First of all, there is not very many cases


                                           Page 107                                                   Page 109
 1       Q. For all cancers, there was no association,      1   for non-Hodgkin lymphoma T-cell compared to some of
 2   P values were just above and just below 1.0 for all    2   these others; right?
 3   quartiles, and the P trend was .91; correct?           3       A. Right, there is nothing.
 4       A. Yes, the risk ratio was -- yeah, I see          4       Q. And the P trend is .31, showing no
 5   that.                                                  5   significant trend; correct?
 6       Q. Okay. So it showed no association -- the        6       A. Correct.
 7   NCI 2018 showed no association for all cancers         7       Q. And the confidence -- the point estimates
 8   grouped together; right?                               8   here are 1 for no exposure for the first M, which is
 9       A. Yes.                                            9   the first half of the data -- they had to use halves
10       Q. And what is a P trend?                         10   because there was so little data -- the point
11       A. It's just how the P is changing compared to    11   estimate is 4.25, the confidence interval spans 1,
12   the quartiles.                                        12   and the point estimate goes down for the higher
13       Q. And it's a way of measuring multiple           13   exposed group to 1.53, and, again, the confidence
14   confidence intervals at once, to put it in simple     14   interval spans 1. That's a nonsignificant finding;
15   terms; right?                                         15   right?
16       A. Sure, right.                                   16       A. Correct.
17       Q. And it needs to be .05 to be considered        17       Q. And that one is not broken down further
18   statistically significant; right?                     18   into further subtypes of T-cell lymphomas; right?
19       A. Yes.                                           19       A. There's not enough cases.
20       Q. Okay. Let's skip over a bunch of solid         20       Q. Yeah.
21   tumors here and go to lymphohematopoietic cancer.     21         Acute myeloid leukemia, as we discussed, is
22   It's on the next page.                                22   not a significant finding, but they suggested that
23       A. Okay.                                          23   it was a possible trend to be looked at in future
24       Q. So the lymphohematopoietic groups together     24   studies, and you agreed with that; is that correct?
25   the subgroups that appear below it; correct?          25       A. I agree.



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                                            Page 110                                                    Page 112
 1       Q. You have claimed, sir, that -- since we're       1      A. Page 7?
 2   looking at this subtype breakdown here on Table 2,      2      Q. 107.
 3   and you, of course, are claiming to be an expert on     3      A. Oh, 107.
 4   non-Hodgkin lymphoma, you've even been designated in    4      Q. Sorry.
 5   a letter naming your area of expertise as               5      A. Okay.
 6   non-Hodgkin lymphoma in this case. Do you claim to      6      Q. And can you tell us what IARC's assessment
 7   be an expert on any particular subtype of               7   overall of malathion was in Section 6.3?
 8   non-Hodgkin lymphoma?                                   8      A. "Malathion is probably carcinogenic to
 9       A. All of them.                                     9   humans (Group 2A)."
10       Q. And you know that there are people -- there     10      Q. Okay. And that is the assessment that
11   are oncologists who treat non-Hodgkin lymphoma who     11   glyphosate received as well; is that correct?
12   specialize in particular subtypes; correct?            12      A. It is.
13       A. Very rare. Very rare. Some folks just do        13      Q. Okay. And then if you look a couple pages
14   T-cells, some folks do B-cells. But for the most       14   back, let's start on Page 103.
15   part, if you are going to do non-Hodgkin lymphoma,     15      A. Okay.
16   you do non-Hodgkin and Hodgkin, otherwise you can't    16      Q. Now, this document was given to you today,
17   have a practice.                                       17   and counsel for Monsanto showed you some -- showed
18       Q. Okay. So your practice is non-Hodgkin plus      18   you some positive comments about the AHS; would you
19   Hodgkin?                                               19   say that's fair?
20       A. Lymphoma.                                       20      A. Yes.
21       Q. And all subtypes?                               21      Q. Okay. And then Page 103, it says that the
22       A. Both of them are lymphomas.                     22   AHS did not find an increase in the relative risk of
23       Q. And there are people who specialize in just     23   non-Hodgkin lymphoma forever versus never use of
24   marginal-zone lymphoma or something, but they          24   malathion, the second-to-last paragraph.
25   would --                                               25         Do you see that?


                                            Page 111                                                    Page 113
 1       A. Very, very, very rare.                           1      A. I see that.
 2       Q. You would find them at a major university        2      Q. Flipping it over to Page 104, the last
 3   or referral center?                                     3   sentence before Section 5.2.2, it says, no excess
 4       A. Extremely -- I mean, and they will have to       4   occurred in the Agricultural Health Study cohort; is
 5   have a lot of funding to be able to do that, because    5   that right?
 6   there's not enough cases to have a practice.            6      A. Yes.
 7          MR. GRIFFIS: Okay. Give me two minutes to        7      Q. And, nonetheless, IARC saw fit to call this
 8       see if that's it. I'm either done or almost         8   pesticide a probable human carcinogen; right?
 9       done.                                               9      A. Yes.
10          VIDEOGRAPHER: Going off the record at           10          MR. LITZENBURG: Okay. Nothing further,
11       11:04 A.M.                                         11      thanks.
12          (Recess taken from 11:04 P.M. to                12          MR. GRIFFIS: Okay.
13       11:05 P.M.)                                        13   FURTHER EXAMINATION
14          VIDEOGRAPHER: We are -- we are back on the      14   BY MR. GRIFFIS:
15       record at 11:05 A.M.                               15      Q. Malathion, Page 7, sir.
16          MR. GRIFFIS: All right. Thank you for           16      A. Okay.
17       your time, Dr. Nabhan. I pass the witness.         17      Q. Do you see that's headed Section 1.4.2,
18   EXAMINATION                                            18   "Exposure Assessment"?
19   BY MR. LITZENBURG:                                     19      A. Yes, I see that.
20       Q. I just have a couple questions about this       20      Q. And it reads, "This section summarizes the
21   monograph about malathion.                             21   exposure assessment and assignment for
22          Have you ever seen this before today?           22   epidemiological studies of cancer and exposure to
23       A. No, I have not.                                 23   the pesticides considered in the present volume
24       Q. Okay. Nonetheless, would you turn to            24   (diazinon, malathion, glyphosate, tetrachlorvinphos
25   Page 107 of the packet.                                25   and parathion)"?



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                                                  Page 114                                                    Page 116
 1     A. I see that.                                         1        ERRATA SHEET FOR THE TRANSCRIPT OF:
                                                              2   CASE NAME:           In re: Roundup Products Liability
 2        MR. GRIFFIS: No further questions.                  3   DEPOSITION DATE: January 15, 2018
 3        MR. LITZENBURG: Okay. None.                         4   WITNESS NAME:           Dr. Chadi Nabhan
 4                                                            5   Reason codes:
          VIDEOGRAPHER: This concludes the                    6      1. To clarify the record.
 5     deposition of Dr. Chadi Nabhan. We are off the                2. To conform to the facts.
 6                                                            7      3. To correct transcription errors.
       record at 11:08 A.M.
                                                              8   Page _____ Line _____ Reason _____
 7        (Time noted: 11:08 A.M.)                                From ______________________ to _____________________
 8                                                            9
 9                 __________________________                     Page _____ Line _____ Reason _____
                                                             10   From ______________________ to _____________________
10                 DR. CHADI NABHAN                          11   Page _____ Line _____ Reason _____
11                                                                From ______________________ to _____________________
                                                             12
12   SUBSCRIBED TO AND SWORN BEFORE ME                            Page _____ Line _____ Reason _____
13   THIS _____ DAY OF ____________, 20__.                   13   From ______________________ to _____________________
                                                             14   Page _____ Line _____ Reason _____
14   ____________________________________
                                                                  From ______________________ to _____________________
     (Notary Public) MY COMMISSION EXPIRES:_____________     15
15                                                                Page _____ Line _____ Reason _____
                                                             16   From ______________________ to _____________________
16                                                           17   Page _____ Line _____ Reason _____
17                                                                From ______________________ to _____________________
                                                             18
18
                                                                  Page _____ Line _____ Reason _____
19                                                           19   From ______________________ to _____________________
                                                             20
20
                                                                               __________________________
21                                                           21                DR. CHADI NABHAN
22                                                           22   SUBSCRIBED TO AND SWORN BEFORE ME
23
                                                                  THIS _____ DAY OF ____________, 20__.
                                                             23
24                                                                ____________________________________
                                                             24   (Notary Public) MY COMMISSION EXPIRES:_____________
25
                                                             25



                                                  Page 115
 1               CERTIFICATE
 2        I, Paula Campbell, CSR, RDR, CRR, CRC, do
 3   hereby certify that on Monday, January 15, 2018
 4   appeared before me, DR. CHADI NABHAN.
 5        I further certify that the said witness was
 6   first duly sworn to testify to the truth in the
 7   cause aforesaid.
 8        I further certify that the signature of the
 9   witness to the foregoing deposition was not
10   specified by counsel.
11        I further certify that I am not counsel for
12   nor in any way related to any of the parties to
13   this suit, nor financially interested in the
14   action.
15        IN TESTIMONY WHEREOF, I have hereunto set my
16   hand on this 15th day of January, 2018.
17
18             ___________________________________
19             Paula Campbell, CSR, RDR, CRR, CRC
               Certified Shorthand Reporter
20             Registered Diplomate Reporter
               Certified Realtime Reporter
21             Certified Realtime Captioner
22             Illinois C.S.R. No. 084-003481
23
24
25




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